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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

GEORGIA STATE CONFERENCE OF                   )
THE NATIONAL ASSOCIATION FOR                  )
THE ADVANCEMENT OF COLORED                    )
PEOPLE, as an organization; and the           )
GEORGIA COALITION FOR THE                     )
PEOPLE’S AGENDA, INC., as an                  )
organization;                                 )
                                              )
       Plaintiffs,                            )   CIVIL ACTION
v.                                            )
                                              )   FILE NO.
DEKALB COUNTY BOARD OF                        )
REGISTRATION AND ELECTIONS;                   )
ANTHONY LEWIS in his official capacity        )
as Member of the DeKalb County Board of       )
Registration and Elections; SUSAN             )
MOTTER in her official capacity as            )
Member of the DeKalb County Board of          )
Registration and Elections;                   )
DELE LOWMAN SMITH in his official             )
capacity as Member of the DeKalb County       )
Board of Registration and Elections;          )
SAMUEL TILLMAN in his official capacity )
as Member of the DeKalb County Board of       )
Registration and Elections; BAOKY             )
N. VU, in his official capacity as Member     )
of the DeKalb County Board of                 )
Registration and Elections; and ERICA         )
HAMILTON in her official capacity as          )
Director of Voter Registration and Elections; )
                                              )
       Defendants.                            )
                                              )


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                                  COMPLAINT

         The Georgia State Conference of the National Association for the

Advancement of Colored People and the Georgia Coalition for the People’s Agenda

bring this action against the DeKalb County Board of Elections and Registration;

Anthony Lewis, Susan Motter, Dele Lowman Smith, Samuel Tillman, and Baoky N.

Vu in their official capacities as Members of the DeKalb County Board of

Registration and Elections; and Erica Hamilton in her official capacity as Director

of Voter Registration and Elections, showing the Court as follows:

                           NATURE OF THE ACTION

         1.    This action addresses the DeKalb County Board of Registration and

Elections’ (“DeKalb BORE”) repeated violations of the National Voter Registration

Act of 1993 (“NVRA”), 52 U.S.C. §§ 20501-20511, and burdening of Georgians’

fundamental right to vote in violation of the First and Fourteenth Amendments

through the unlawful and discriminatory removal of eligible voters from the

registration list.

         2.    The DeKalb BORE conducted at least four challenge hearings between

August and November of 2019. The DeKalb BORE began sending challenge letters

in December of 2018.        Acting through its members and staff, and with the

cooperation of others, the DeKalb BORE immediately purged eligible voters from


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the registration list without following federally mandated safeguards, namely,

obtaining written confirmation from the voter or providing adequate notice and

waiting for the grace period of two federal election cycles to pass.

         3.     DeKalb BORE officials have encouraged, solicited, and acted on

extraordinary voter challenges that extend beyond the routine list maintenance

activities that are required by state and federal law. For example, the DeKalb BORE

actively solicited challenges to the eligibility of voters in the City of Decatur. After

Decatur officials declined to identify any voters who warranted a challenge, DeKalb

BORE officials made false suggestions to the contrary and, on their own initiative,

proceeded to locate Decatur voters to challenge and ultimately to purge. Several of

the Decatur voters were selected for removal based on arbitrary and discriminatory

criteria, such as the voters’ use of non-traditional housing as their address of

registration.

         4.     The DeKalb BORE’s purges based on these challenge procedures

violate the NVRA, which Congress enacted in large part to protect United States

citizens from discriminatory and unfair registration laws, with particular emphasis

on those practices that negatively affect voter participation among voters of color

and other vulnerable groups.




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         5.    The NVRA expressly sets forth requirements that governing bodies

must meet before removing a voter from the registration rolls. Pursuant to the

NVRA, an election administrator may only remove voters from the registration list

on the basis that they have moved if one of two requirements are met. First, voters

may be removed if they confirm in writing that they have moved. Second, voters

may be removed if they receive a formal notice, in writing, that their address needs

to be confirmed, 52 U.S.C. § 20507(d)(2); and they are given an adequate

opportunity to respond to the notice or to demonstrate continued residency by voting

during one of the next two federal election cycles. Id. § 20507(d)(1)(B).

         6.    Defendants have violated and continue to violate the NVRA by, among

other things, removing voters without affording the notice, opportunity to respond,

and two election cycle waiting period required by the NVRA.                 Moreover,

Defendants’ rushed, arbitrary, and discriminatory purge process burdens DeKalb

County voters’ fundamental right to vote in violation of the First and Fourteenth

Amendments to the U.S. Constitution.

         7.    By soliciting challenges from municipalities and attempting to purge

registered voters in the City of Decatur and a handful of other neighborhoods without

similarly examining the registration status of voters in the unincorporated portions




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of DeKalb County, the DeKalb BORE has further violated the NVRA’s prohibition

on non-uniform and discriminatory list maintenance procedures.

         8.    Additionally, Defendants improperly burden the right to vote of voters

residing in transitional housing and non-traditional residences in violation of the

First and Fourteenth Amendments to the U.S. Constitution.

         9.    This lawsuit does not challenge the purging of voters who provided

written confirmation that they no longer live at their address of registration. The

lawsuit also does not challenge the purging of voters who received an NVRA-

compliant confirmation notice, were placed in inactive status, and remained in that

status for two federal election cycles prior to removal.

                                      PARTIES

         10.   Plaintiff Georgia State Conference of the National Association for the

Advancement of Colored People, Inc. (“Georgia NAACP”) is a non-partisan,

interracial, nonprofit membership organization that was founded in 1941.          Its

mission is to eliminate racial discrimination through democratic processes and

ensure the equal political, educational, social, and economic rights of all persons,

including African-Americans in particular. It is headquartered in Atlanta, Georgia

and currently has approximately 10,000 members, many of whom reside in DeKalb

County. The Georgia NAACP’s membership includes registered voters residing in


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DeKalb County whose right to vote is at risk of being abridged by the DeKalb

BORE’s purges. The Georgia NAACP works to protect voting rights through

litigation, advocacy, legislation, communication, and outreach, including work to

promote voter registration, voter education, get out the vote (“GOTV”) efforts,

election protection, and census participation.     The Georgia NAACP regularly

conducts voter registration drives and submits many voter registration applications

to DeKalb County elections officials. Defendants’ voter purges harm the Georgia

NAACP’s mission and are causing the Georgia NAACP to divert a portion of its

financial and other organizational resources to educating voters about Defendants’

purges and assisting eligible voters who have been purged from the rolls. As a result,

the Georgia NAACP has and will have fewer resources for its other organizational

activities unless Defendants are enjoined from continuing to illegally purge voters.

         11.   Plaintiff Georgia Coalition for the People’s Agenda, Inc. (“GCPA”) is

a Georgia nonprofit corporation with its principal place of business located in

Atlanta, Georgia. The GCPA is a coalition of more than 30 organizations, which

collectively have more than 5,000 individual members, many of whom reside in

DeKalb County.        The GCPA encourages voter registration and participation,

particularly among African-American and other underrepresented communities.

The GCPA’s support of voting rights is central to its mission. The organization


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regularly commits time and resources to conducting voter registration drivers, voter

education, voter ID assistance, Souls to the Polls, and other GOTV efforts in DeKalb

County. Defendants’ voter purges harm GCPA’s mission of encouraging minority

voter registration and participation. Defendants’ purges are causing GCPA to divert

a portion of its financial and other organizational resources to educating voters about

Defendants’ purges and assisting potential voters who have been purged from the

rolls. As a result, the GCPA has and will have fewer resources to dedicate to its

other organizational activities unless Defendants are enjoined from continuing to

illegally purge voters.

         12.   Defendant DeKalb County Board of Registration and Elections

(“DeKalb BORE”) is a political body of DeKalb County, Georgia, and is the

governing body that oversees elections and maintains the voter registration list in

DeKalb County, Georgia. The DeKalb BORE’s headquarters is located at 4380

Memorial Drive, Suite 300, Decatur, Georgia 30032-1239.

         13.   Defendant Anthony Lewis is a member of the DeKalb BORE, resides

in DeKalb County, Georgia, and is being sued in his official capacity.

         14.   Susan Motter is a member of the DeKalb BORE, resides in DeKalb

County, Georgia, and is being sued in her official capacity.




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         15.   Dele Lowman Smith is a member of the DeKalb BORE, resides in

DeKalb County, Georgia, and is being sued in her official capacity.

         16.   Samuel E. Tillman is a member of the DeKalb BORE, resides in

DeKalb County, Georgia, and is being sued in his official capacity.

         17.   Baoky N. Vu is a member of the DeKalb BORE, resides in DeKalb

County, Georgia, and is being sued in his official capacity.

         18.   Defendant Erica Hamilton is the Director of Voter Registration and

Elections in DeKalb County, and is being sued in her official capacity.

                           JURISDICTION AND VENUE

         19.   This Court has subject matter jurisdiction over this action under

28 U.S.C. § 1331 because this action arises under the laws of the United States;

under 28 U.S.C. §§ 1343(a)(3)-(4) and 1357 because this action seeks equitable and

other relief pursuant to an act of Congress providing for the protection of the right

to vote; and under 42 U.S.C. §§ 1983 and 1988 because this action seeks to enforce

rights and privileges secured by the laws of the United States.

         20.   This Court has authority to issue declaratory and injunctive relief in this

action pursuant to 28 U.S.C. §§ 2201 and 2202.

         21.   Venue is proper in the Northern District of Georgia under 28 U.S.C.

§ 1391, and in the Atlanta Division under Local Civ. R. 3.1, because Defendants


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reside in this district and division, and the events or omissions giving rise to the

claim occurred within this district and division.

         22.   This Court has personal jurisdiction over Defendants because each

Defendant does business in or is domiciled within the Northern District of Georgia.

                   NATIONAL VOTER REGISTRATION ACT

         23.   The National Voter Registration Act sets forth mandatory procedures

for state elections that further the statute’s several purposes, including to “increase

the number of eligible citizens who register to vote in elections for Federal office”;

“to protect the integrity of the electoral process”; and “to ensure that accurate and

current voter registration rolls are maintained.” 52 U.S.C. §§ 20501(b)(1), (3)-(4).

         24.   Registered voters in DeKalb County are eligible to vote in federal

elections because the State of Georgia maintains a unitary voter registration process

for state and federal elections. The DeKalb BORE’s election procedures, including

its voter purges, are therefore subject to the NVRA.

         25.   Section 8 of the NVRA protects registered voters against wrongful

removal from voter registration lists in at least two pertinent ways. First, it prohibits

the removal of registered voters on the basis of a change in residence unless the

registrant: (a) confirms the change of residence in writing or (b) both fails to respond

to a notice, the contents and manner of mailing of which are prescribed by the NVRA


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and detailed below, and fails to vote or otherwise contact the elections office during

the next two federal election cycles after receiving the notice.                  52 U.S.C.

§ 20507(d)(1). Second, it requires that list-maintenance programs be reasonable,

uniform, and nondiscriminatory. Id. § 20507(a)(4), (b)(1).

          26.   Section 8 of the NVRA provides that, where a voter has not directly

confirmed a change of address or requested removal from the voter rolls, the state

may not cancel the voter’s registration unless it has sent the voter, by mail that can

be forwarded: (1) a postage-prepaid and pre-addressed return card on which the

registrant may state his or her current address; and (2) a notice to the following

effect:

          (A) If the registrant did not change his or her residence, or changed
          residence but remained in the registrar’s jurisdiction, the registrant
          should return the card not later than the time provided for mail
          registration . . . . If the card is not returned, affirmation or confirmation
          of the registrant’s address may be required before the registrant is
          permitted to vote in a Federal election during the period beginning on
          the date of the notice and ending on the day after the date of the second
          general election for Federal office that occurs after the date of the
          notice, and if the registrant does not vote in an election during that
          period the registrant’s name will be removed from the list of eligible
          voters.

          (B) If the registrant has changed residence to a place outside the
          registrar’s jurisdiction in which the registrant is registered, information
          concerning how the registrant can continue to be eligible to vote.

52 U.S.C. § 20507(d)(2)(A)-(B).


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         27.   Section 8(b) of the NVRA further mandates that “[a]ny State program

or activity to protect the integrity of the electoral process . . . shall be uniform,

nondiscriminatory, and in compliance with the Voting Rights Act of 1965.”

52 U.S.C. § 20507(b)(1).

         28.   The term “uniform” as used in Section 8(b)(1) of the NVRA means

“that any purge program or activity must be applied to an entire jurisdiction.” House

Report No. 103-9, H.P. REP. 103-9, 15-16, 1993 U.S.C.C.A.N. 105, 119-20.

         DEFENDANTS’ VIOLATIONS OF SECTION 8 OF THE NVRA

         29.   Defendants have engaged in voter purging that violates the NVRA by

immediately removing eligible voters based on alleged residence changes without

either (a) receiving directly from the voter written confirmation of the change in

residence or a request for removal, or (b) complying with Section 8(d)’s notice-and-

waiting requirement.     Defendants’ voter purging also violates the NVRA by

removing electors in a non-uniform and discriminatory manner, in violation of

Section 8(b).

A.       Unlawful Immediate Purging of Registered Voters

         30.   Defendants are engaged in an ongoing practice of immediately

removing voters upon receiving a challenge of eligibility based on alleged changes

of address.


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         31.   The DeKalb BORE received, initiated, or considered challenges to the

eligibility of at least 129 voters between December 2018 and November 2019. The

vast majority of the challenges were initiated and considered between July and

November 2019.

         32.   For example, at the DeKalb BORE meeting on August 1, 2019,

Defendants immediately purged one voter because he allegedly “has not lived at the

address since 2015” and a letter addressed to him “was returned undeliverable.” A

true and correct copy of the meeting minutes reflecting this purge is attached as

Exhibit 1. The DeKalb BORE neither received a written confirmation of changed

residence from the voter nor sent the voter a notice that conforms to the requirements

of Section 8(d)(2) (a “Confirmation Notice”) and waited for two federal election

cycles of voter inactivity to pass before purging them.

         33.   At the same meeting, three other voters were purged because an

unnamed third party sent a letter to the DeKalb BORE stating that they “no longer

lived at the address” and a “letter addressed to each individual was returned

undeliverable.”     The DeKalb BORE neither received written confirmation of

changed residence from these voters nor sent the voters a Confirmation Notice and

waited for two federal election cycles of voter inactivity to pass before purging them.




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         34.   The DeKalb BORE removed similarly situated voters for substantively

analogous reasons at meetings held on September 12, October 10, and November

15, 2019.

         35.   The minutes sometimes identify the individuals who challenged

specific voters’ eligibility. On other occasions, the minutes do not identify the

challenger. For example, the minutes from the November 15, 2019 meeting state

only that “[t]he Board was provided information that [a voter] did not reside at the

registered address,” and that the individual was mailed a letter that was returned as

undeliverable.

         36.   One of the challenged voters appeared at the September 12, 2019

meeting and informed the DeKalb BORE that she still lived in DeKalb County. That

voter, whose name was not identified in the minutes, was not removed from the voter

rolls.

         37.   The minutes from the September 12, October 10, and November 15,

2019 meetings confirm that the DeKalb BORE is continuing to purge voters from

the registration rolls based on allegations from third parties that those voters no

longer live at their address of registration, without first sending them a Confirmation

Notice and providing them an opportunity to contact the DeKalb BORE or vote




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during the subsequent two federal election cycles. True and correct copies of these

meeting minutes are attached hereto as Exhibits 2, 3, and 4.

         38.    The DeKalb BORE immediately purged at least 51 of the challenged

voters from the county’s voter registration list. The DeKalb BORE purged the vast

majority of these voters during BORE meetings held between August and November

2019.

         39.    At least seven of the purged voters used 444 Sycamore Drive in

Decatur, Georgia, as their voter registration address.

         40.    The minutes from the 2019 BORE meetings indicate that the

challengers frequently failed to provide the DeKalb BORE with evidence

corroborating the bare assertion from a third party that the voters in question did not

live at the addresses where they were registered.

         41.    The DeKalb BORE considered approximately 100 challenges based on

alleged change of residence brought by elector Lawrence Hoskins, which were not

based on written confirmation from the voters that they had moved outside of the

jurisdiction.    Mr. Hoskins allegedly used data from the U.S. Postal Service’s

National Change of Address (“NCOA”) system and home-purchase data to identify

persons who allegedly moved. Mr. Hoskins claims to have identified the individuals




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he wanted to challenge while conducting door-to-door canvassing and claims to have

obtained NCOA data from a company in New York.

         42.   The minutes indicate that challenged voters were removed primarily

based on a bare allegation of non-residence, buttressed in some cases by the DeKalb

BORE having mailed them a letter that was allegedly returned as undeliverable—

but without subsequently sending those voters a Confirmation Notice and waiting

for two federal election cycles of voter inactivity to pass before removing the voter,

as required by the NVRA.

         43.   The DeKalb BORE mailed other voters a letter to which “no return

correspondence was received,” which led the DeKalb BORE to purge them if they

did not appear at the time and location specified in the BORE’s challenge letter—

without first sending them the statutorily required Confirmation Notice or waiting

for two federal election cycles of voter inactivity to pass.

         44.   The DeKalb BORE sent a letter to at least one of the challenged voters

saying that “[t]his office has received information from the city of Decatur regarding

your eligibility and residency at the above address for the purpose of voting.” The

letter says, “[y]ou are requested to appear before the Board,” and, “[p]lease be

prepared to provide evidence to show that you are eligible and do reside at the above

address.” The letter concludes that the “[f]ailure to appear at the time specified in


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any notice given under this article may constitute cause for removing an elector's

name from the voters list.” A true and correct copy of one of these letters is attached

hereto as Exhibit 5. Other letters sent by the DeKalb BORE do not indicate that any

elector challenged the voter’s eligibility; instead, they merely say that “[s]ince there

is question [sic] of your eligibility in DeKalb County, there will be a challenge to

your right to remain a registered voter in this county.”

         45.   None of the letters from the DeKalb BORE suggest that challenged

voters may prove their residency by any means other than appearing at the pre-

determined date and time designated by the DeKalb BORE, which was during work

hours. The letters also do not identify the information presented to the DeKalb

BORE purportedly showing that the individual in question is not eligible to vote in

DeKalb County or the identity of the elector challenging their eligibility to vote.

         46.   The DeKalb BORE did not mail Confirmation Notices to any of the

challenged voters at any point before their registrations were cancelled.

         47.   The DeKalb BORE sent brief form letters to purged voters stating only

“[per] the [date] Hearing DeKalb County Board of Registration and Election

Meeting you have been removed from DeKalb County’s List of Registered Voter

[sic]. Enclosed is a voter registration application that can be completed and mailed

to our office. If you have any questions, please do not hesitate to contact the Voter


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Registration Department at 404-298-4020.” The letters did not inform recipients of

the DeKalb BORE’s basis for removing them from the rolls or explain what they

could do to challenge the BORE’s decision.

         48.   The DeKalb BORE sent letters to at least 29 voters dated November 13,

2019, informing them that they had been purged from the voter rolls based on a

decision that was made at the November 15, 2019 BORE meeting. A true and correct

copy of one of these letters is attached hereto as Exhibit 6.

B.       Non-Uniform and Discriminatory Purging of Voters

         49.   Defendants are purging electors in a non-uniform and discriminatory

manner, in violation of Section 8(b) of the NVRA, in at least two ways.

         50.   First, Defendants are targeting for removal from the registration lists

voters in municipalities—in particular, the City of Decatur—without similarly

targeting voters who live in unincorporated or more suburban areas.

         51.   For example, on May 2, 2019, the DeKalb BORE sent an email to the

City of Decatur asking for the City to review a “list of registered voters for the City

of Decatur” for the purpose of suggesting “any voters that [the City] would like to

challenge.” A true and correct copy of the May 2, 2019 email is attached hereto as

Exhibit 7.




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         52.   The August 2019 DeKalb BORE minutes reveal that the BORE purged

several voters who were registered to vote at 444 Sycamore Drive, Decatur, Georgia

30030, where the Peer Support, Wellness, and Respite Center (“Center”) is located.

The Center provides transitional housing for individuals in need, including those

with mental disabilities, those who are struggling with homelessness, and those who

want assistance with treatment or other serious issues such as avoiding

hospitalization.

         53.   The DeKalb BORE’s August 2019 Board minutes state, inaccurately,

that the “City of Decatur challenged” the 444 Sycamore Drive voters. The City of

Decatur played no role in the challenges. In fact, Mary Frances Weeks, an employee

of the DeKalb BORE who had an alleged ownership interest in the property, initiated

the 444 Sycamore Drive challenge. A true and accurate copy of a letter from Ms.

Weeks is attached hereto as Exhibit 8.

         54.   On August 20, 2019, Decatur City Manager Andrea Arnold wrote a

response letter to the DeKalb BORE reminding the BORE that “[t]he City of Decatur

did not request a challenge to the voter list . . . rather . . . [t]he County initiated the

challenge of the voters at [444 Sycamore Drive]” (“Arnold Letter”). A true and

correct copy of the Arnold Letter is attached hereto as Exhibit 9.




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         55.   Purging voters at the behest of a DeKalb BORE member or employee

who has a personal interest in the property at issue is precisely the kind of non-

uniform, discriminatory list maintenance activity prohibited by Section 8(b)(1).

         56.   The solicitation of challenges from a municipality’s officials but not

from officials from other areas constitutes a textbook example of non-uniform

purging policies. Moreover, Defendants’ policies cannot further any legitimate state

interest because state law permits only individual electors, not municipalities, to file

challenges to voter eligibility. See O.C.G.A. §§ 21-2-229(a) (stating that electors

may initiate challenges), 21-2-2(7) (defining “elector”).

         57.   Second, Defendants are discriminating against voters residing in

transitional housing or non-traditional residences (such as individuals living on the

street) based on the erroneous assumption that voters in transitional housing or other

non-traditional residences cannot be real “residents” for voting purposes. Nothing

in federal or state law requires citizens to live in permanent housing or within a

traditional residential structure in order to exercise their constitutional right to vote.

         58.   Many residents of DeKalb County consider the Peer Support, Wellness,

and Respite Center their “home base.” Residents receive mail, conduct meetings,

receive and apply for various services including counseling or medical services,

interact with other residents and engage in myriad activities, stay overnight, and


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return frequently to the Center during the day. Many residents stay overnight at the

Center intermittently over the course of months, if not longer.

         59.    Upon information and belief, Defendants are categorically classifying

electors registered at 444 Sycamore Drive as ineligible to vote at that address

because of its status as a transitional or non-traditional residence.

         60.    By categorically purging residents of 444 Sycamore Drive on this basis,

Defendants are unlawfully punishing and discriminating against eligible voters for

being homeless or residing in transitional housing.

               PLAINTIFFS PROVIDED THE NECESSARY NOTICE
                 TO DEKALB COUNTY ELECTION OFFICIALS

         61.    On October 28, 2019, counsel representing the Georgia NAACP and

Georgia Coalition for the People’s Agenda sent a notice letter to the DeKalb BORE

and its members; Erica Hamilton, the Voter Registration and Elections Director for

the BRE; and Bennett D. Bryan, Senior Assistant County Attorney (“Notice Letter”).

The Notice Letter outlined the NVRA violations described in this Complaint and

explained the illegality of those actions. A true and correct copy of the Notice Letter

is attached hereto as Exhibit 10.

         62.    On January 24, 2020, the Litigation Strategy Division Chief of the

DeKalb County Law Department, Aaron J. Ross, acknowledged receipt of the Notice

Letter (“Receipt Letter”) and stated, “[W]e disagree with both your general premise
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that Georgia’s challenge procedures violate the National Voter Registration Act and

your specific contentions that the County Board of Registration and Elections

removed the identified individuals from the list of eligible voters in violation of

applicable law or otherwise discriminated against them.” A true and correct copy of

the Receipt Letter is attached hereto as Exhibit 11.

                                       COUNT I
               Violation of Section 8 of the NVRA, 52 U.S.C. § 20507(d)

         63.    Plaintiffs reallege the allegations set forth in paragraphs 1 through 61

as though fully set forth herein.

         64.    The NVRA prohibits removal based on a change of residence unless

the registered voter either: (1) confirms the change of residence in writing; or

(2) fails to respond to a Confirmation Notice, the contents and manner of mailing of

which are prescribed by the NVRA, and also fails to vote during the next two general

federal election cycles after receiving the notice. 52 U.S.C. § 20507(d).

         65.    Defendants are engaged in an ongoing practice of immediately purging

voters from the rolls on the ground of changed residence (i) without receiving written

confirmation from the voter confirming the change in residence; (ii) without

providing proper notice to voters regarding Defendants’ intention to remove them

from the rolls; and (iii) without waiting for two federal election cycles of voter

inactivity to pass before removing them from the rolls.
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         66.     The failure of Defendants to comply with Section 8 of the NVRA has

injured and will continue to injure Plaintiffs because of the additional resources they

must devote to voter registration and properly educating DeKalb County residents

who have been purged or identified as at risk of being purged.                 Enjoining

Defendants’ ongoing violations will enable Plaintiffs to allocate their resources to

their other important activities and will ensure that their members are not denied the

right to vote pursuant to unlawful purging of the registration rolls.

         67.     Unless enjoined by order of this Court, Defendants will continue to act

in violation of the NVRA.

                                        COUNT II
               Violation of Section 8 of the NVRA, 52 U.S.C. § 20507(d)(2)

         68.     Plaintiffs reallege the allegations set forth in paragraphs 1 through 61

above as though fully set forth herein.

         69.     The NVRA prohibits the removal of voters from the registration list on

the basis of changed residence unless the election administrators receive written

confirmation directly from the voter or, alternatively, send the voter a Confirmation

Notice to which the voter does not respond while also failing to vote during the next

two federal election cycles. 52 U.S.C. § 20507(d)(1)(B)(i).

         70.     The NVRA defines the contents of the Confirmation Notice with

specificity. A Confirmation Notice is a postage prepaid and pre-addressed return
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card sent by mail that can be forwarded and on which registrants may state their

current address, and which contains specific language identified by the NVRA.

52 U.S.C. § 20507(d)(2).

         71.   The DeKalb BORE’s letters to challenged voters are not Confirmation

Notices. The letters (i) are not postage prepaid and pre-addressed return cards; (ii)

do not contain a place on which the registrant may state his or her current address;

(iii) do not disclose that voters may provide proof of residency other than by

appearing before the BORE; (iv) do not contain information about how to re-register

if a voter has moved outside of the county or state (despite the statute’s clear

requirements that this information be included); and (v) contain other deficiencies

that contravene the NVRA.

         72.   Because the letters the DeKalb BORE has sent and continues to send

to registrants challenged on the basis of changed residence do not satisfy the

requirements for Confirmation Notices, Defendants have violated and continue to

violate Section 8 of the NVRA. 52 U.S.C. § 20507(d)(2).

         73.   The failure of Defendants to comply with Section 8 of the NVRA has

injured and will continue to injure Plaintiffs because of the additional resources they

must devote to voter registration and properly educating Georgians who have been

purged or identified as at risk of being purged. Enjoining Defendants’ ongoing


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violations will enable Plaintiffs to allocate their scarce resources to their other

important activities and will ensure that their members are not denied the right to

vote pursuant to unlawful purging of the registration rolls.

         74.    Unless enjoined by order of this Court, Defendants will continue to act

in violation of the NVRA.

                                      COUNT III
               Violation of Section 8 of the NVRA, 52 U.S.C. § 20507(b)

         75.    Plaintiffs reallege the allegations set forth in paragraphs 1 through 61

above as though fully set forth herein.

         76.    Section 8(b) of the NVRA provides that “[a]ny State program or

activity to protect the integrity of the electoral process . . . shall be uniform,

nondiscriminatory, and in compliance with the Voting Rights Act of 1965.” Id.

§ 20507(b)(1).

         77.    Defendants have violated and continue to violate Section 8(b) of the

NVRA by soliciting challenges to voters from municipalities while not seeking

similar challenges or undertaking any similar examination of the eligibility of voters

registered at addresses located in unincorporated portions of DeKalb County.

         78.    Unless enjoined by order of this Court, Defendants will continue to act

in violation of the NVRA.



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                                  COUNT IV
                 Violation of the Fundamental Right to Vote
 42 U.S.C. § 1983, First and Fourteenth Amendments to the U.S. Constitution

         79.   Plaintiffs reallege the allegations set forth in paragraphs 1 through 61

above as though fully set forth herein.

         80.   Defendants, acting under color of state law, are administering voter

purge procedures in DeKalb County that are arbitrary and discriminatory and

immediately render voters ineligible to cast ballots in elections. Unless enjoined,

these actions will result in the unlawful disenfranchisement of eligible voters in the

2020 election cycle and beyond.

         81.   Due to Defendants’ purge procedures, eligible voters are not afforded

the protections of the confirmation notice and waiting period that are required under

federal law and must instead either attend a challenge hearing to prove their

eligibility to vote or re-register again through a separate, unnecessary process.

         82.   Defendants have conducted voter purges in an arbitrary and

discriminatory manner that lacks adequate safeguards and standards. One example

includes the DeKalb BORE’s targeting of residents of the City of Decatur and

misrepresenting the role of Decatur city officials in the purging process.




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         83.   Defendants’ purge procedures deny and severely burden DeKalb

County citizens’ fundamental right to vote in violation of the First and Fourteenth

Amendments to the U.S. Constitution.

         84.   The burdens imposed are severe and discriminatory, thus requiring

heightened scrutiny. Even so, DeKalb County’s voter purge procedures could not

pass muster even under the less restrictive Anderson-Burdick balancing test for less

burdensome voting regulations. Burdick v. Takushi, 504 U.S. 428, 434 (1992)

(holding that courts “must weigh ‘the character and magnitude of the asserted injury

to the rights protected by the First and Fourteenth Amendments that the plaintiff

seeks to vindicate’ against ‘the precise interests put forward by the State as

justifications for the burden imposed by its rule,’ taking into consideration ‘the

extent to which those interests make it necessary to burden the plaintiffs rights’”

(quoting Celebrezze, 460 U.S. at 789)).

         85.   There is no sufficient state interest justifying the DeKalb BORE’s voter

purge procedures that is not already adequately protected by Georgia’s existing list

maintenance procedures.       Georgia law already mandates that election officials

initiate the removal process for voters who have allegedly moved for three reasons:

if a person has not voted in several years; if a person files change-of-address forms;

or if mail sent to them by election officials was returned as undeliverable. In all


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three instances, voters flagged in this process must be sent a Confirmation Notice

and given two federal election cycles to contact the DeKalb BORE or vote in an

election before being removed from the rolls.

                                  COUNT V
  Violation of the First and Fourteenth Amendments to the U.S. Constitution

         86.   Plaintiffs reallege the allegations set forth in paragraphs 1 through 61

above as though fully set forth herein.

         87.   Defendants burden the fundamental right to vote of Peer Support,

Wellness, and Respite Center residents and similarly situated individuals by purging

voters registered at the Center’s 444 Sycamore Drive address even though the Center

is their “home base”—where they receive mail, conduct meetings, receive various

services, stay overnight, and return frequently during the day. For many, a

transitional or non-traditional residence like the Peer Support, Wellness, and Respite

Center is the most permanent housing that they have. Such voters may lawfully

claim the Center or similar locations as their domicile for voting purposes under

Georgia law. Targeting these voters for removal burdens the right to vote of

individuals who struggle with homelessness or rely on transitional housing.

         88.   Specifically, Defendants solicit challenges to a voter based on that

voter’s place of domicile being located at the Peer Support, Wellness, and Respite

Center, a transitional or non-traditional residence.
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         89.   The purges impose severe burdens on Peer Support, Wellness, and

Respite Center residents and other similarly situated voters. Many respite center

users struggle with homelessness, are transient, or have unstable living situations.

Such voters often cannot easily overcome the bureaucratic requirements that

Defendants place on them if they wish to maintain their registration—requirements

that are not imposed on wealthier individuals. Respite center users are more likely

to lack documentation necessary to complete the registration process and to vote.

         90.   There is no legitimate state interest in purging voters based on the

erroneous assumption that no voter registering at a transitional or non-traditional

residence can ever be a real “resident” of that place for voting purposes.

         91.   By targeting voters domiciled at transitional or non-traditional

residences, Defendants burden the rights of Peer Support, Wellness, and Respite

Center residents in violation of the First and Fourteenth Amendments to the U.S.

Constitution.

                              PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs respectfully request that this Court:

         a.    Declare that Defendants’ practice of removing voters without written

confirmation of change in address and without providing Confirmation Notices and

waiting two federal election cycles violates Section 8(d) of the NVRA;


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         b.    Declare that Defendants’ practices of soliciting challenges to voter

eligibility based on an alleged change in address from municipalities and not

unincorporated parts of DeKalb County are non-uniform and discriminatory in

violation of Section 8(b) of the NVRA;

         c.    Declare that Defendants’ practice of removing voters on the alleged

basis that they have moved while sending deficient letters that are not NVRA-

compliant Confirmation Notices violates Section 8(d) of the NVRA.

         d.    Declare that Defendants’ voter purges burden the fundamental right to

vote in violation of the First and Fourteenth Amendments of the U.S. Constitution;

         e.    Declare that the targeting and purging of voters on the basis that they

listed the Peer Support, Wellness, and Respite Center or other transitional or non-

traditional residences as their domiciles on their voter registration forms violates

the First and Fourteenth Amendments to the U.S. Constitution;

         f.    Grant Plaintiffs preliminary or permanent injunctive relief:

               i.    prohibiting the purging of voters from the rolls without

               complying with the NVRA, specifically, before (1) receiving written

               confirmation of change in address or (2) providing proper notice and

               waiting two federal election cycles;




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               ii.    prohibiting the solicitation of challenges to voter eligibility

               from the City of Decatur and other municipalities;

               iii.   prohibiting the targeting and purging of voters on the basis that

               they are domiciled at the Peer Support, Wellness, and Respite Center

               or other transitional or non-traditional residences;

               iv.    ordering Defendants to promulgate uniform and NVRA-

               compliant procedures for removing voters from the rolls premised on

               an alleged change of address;

               v.     ordering Defendants to maintain, preserve, and not destroy until

               after December 31, 2022, any and all records relating to Defendants’

               list-maintenance programs that have resulted in challenges to voter

               eligibility based upon a change of address;

               vi.    ordering Defendants to restore to the DeKalb County

               registration list all voters removed from the voter registration list in

               violation of the NVRA and the U.S. Constitution;

               vii.   ordering Defendants to count all provisional ballots cast by

               voters removed from the DeKalb County voter registration list in

               violation of the NVRA and the U.S. Constitution and, where




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               appropriate, to inform voters if any provisional ballots they cast in

               previous elections were improperly rejected; and

               viii.   ordering Defendants to adopt revised procedures for processing

               and adjudicating challenges to voters’ eligibility on the basis that they

               allegedly moved or do not reside in DeKalb County that comply with

               the NVRA and the U.S. Constitution.

         g.    Awarding Plaintiffs their reasonable attorneys’ fees, litigation

expenses, and costs incurred in connection with this action, pursuant to 52 U.S.C.

§ 20510(c) and 42 U.S.C. § 1988;

         h.    Retaining jurisdiction over this action to ensure that Defendants

comply with any order(s) issued by this Court;

         i.    Granting such additional relief as the Court deems just and proper.

         Respectfully submitted this 26th day of February, 2020.


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                     MINUTES OF THE MEETING OF THE BOARD
                        OF REGISTRATION AND ELECTIONS
                                DEKALB COUNTY
                                  August 1, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
August 1st, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:              Anthony Lewis, Board Member
                      Susan Motter, Board Member
                      Dele Lowman Smith, Board Member
                      Baoky Vu, Board Member
                      Bennett Bryan, Attorney
                      Erica Hamilton, Director
                      Tiffani Gilbert, Elections Supervisor
                      Twyla Hart, Registration Supervisor
                      Sharon Hillman, Administrative Coordinator (Trainee)
                      Mary Frances Weeks, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:30 PM and asked for an Executive
Session to be added to the agenda as 5B to discuss a legal matter. A motion was made by Ms.
Smith to approve the agenda. Mr. Vu seconded the motion. Mr. Tillman stated the motion was
made and seconded. The question was called and the motion was approved.

Minutes
Ms. Smith recommended that the “Comments from the Public” from the July 11th meeting be
reworded. A motion was made by Mr. Lewis to approve the minutes. Ms. Smith seconded the
motion. The question was called and the motion was approved.

Comments from the Public
Five citizens signed in and spoke. Four citizens expressed their concerns with poll watcher
selection, absentee ballots, and election fairness. One citizen expressed his appreciation of the
Director and the office.

Challenges -- Director Erica Hamilton presented the following challenges with staff
recommendation for removal.
       A) Anthony Lombardo -- The Board was provided with a request from Joseph Firpo, who
          resides as the registered address, stating Mr. Lombardo only lived at the residence for
          6 months and has not lived at the address since 2015. A letter addressed to Mr.
          Lombardo was returned undeliverable. A motion was made by Mr. Vu to remove
          Anthony Lombardo from the DeKalb County voter roll. Mr. Lewis seconded the
          motion. The question was called and the motion was approved.
       B) Tiffany Harris; Eric Warren Robbins, Leon Harris -- Precinct cards were mailed back
          to the Board from the individual who currently lives as the registered address with a
          note stating Ms. Harris, Mr. Robbins, and Mr. Harris no longer lived at the address. A
          letter addressed to each individual was returned undeliverable. A motion was made by
          Ms. Smith to remove Tiffany Harris, Eric Warren Robbins, and Leon Harris from the
          DeKalb County voter roll. Mr. Lewis seconded the motion. The question was called
          and the motion was approved.
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       C) City of Decatur -- Per Election Law, a list of registered voters was sent to the city. The
          City of Decatur questioned the address of 444 Sycamore Drive, Decatur, GA 30030.
          The address was found to be a business where clients can only stay for three days, and
          citizens cannot register at a business. A motion was made by Mr. Lewis to remove
          those registered at 444 Sycamore Drive from the DeKalb County voter roll. Ms. Smith
          seconded the motion. The question was called and the motion was approved. Ms. Smith
          questioned how an individual was registered at a business address. Ms. Hamilton stated
          that her understanding was that at one point, it was a residence.

Presentation
Mr. Tillman requested to add to the agenda a special presentation. M. Vu presented Mrs. Weeks
with a gift recognizing her 20 years of service to the Board and DeKalb County.

Unfinished Business
   A) Audit Update -- Ms. Hamilton reported that some members of the board met with audit
       officials on July 31st. The Board is waiting on official word and notifications from the
       auditors on how the audit will proceed.

New Business
  A) Precinct Change -- Emory Road – Ms. Hamilton reported that the current Emory Road
     Precinct is no longer able to accommodate the election. According to Georgia code, a
     meeting is required after posting a notice in a legal organ two weeks prior, which has been
     completed. The Board has notified the State Election Board, as it is required since the
     proposed relocation is outside the precinct. The proposed temporary move is to Druid Hills
     High School, an existing precinct. A motion was made by Ms. Smith to approve the
     precinct change. Mr. Vu seconded the motion. Mr. Tillman stated the motion was made
     and seconded. The question was called and precinct change was approved.
  B) Executive Session -- Mr. Tillman asked for a motion for the Board to go into Executive
     Session. A motion was made by Mr. Lewis, and Ms. Smith seconded the motion. The
     question was called and the motion was approved. The Board excused themselves to
     another area to meet with counsel, after which, a motion was made by Mr. Vu, and
     seconded by Mr. Lewis to return to regular session. The question was called and the motion
     was approved. A motion was made by Ms. Smith to enter into a consent order for State
     Election Board case 2015-100. Mr. Lewis seconded the motion. The question was called
     and the motion was approved. “No decisions were made, and no votes were taken while
     we were in Executive Session.” A signed affidavit confirming this will be placed with the
     minutes.

Comments from the Board – Ms. Smith stated that is was a pleasure working with Mrs. Weeks and
wish her joy and peace in her retirement. Ms. Smith thanks Mrs. Weeks for an easy onboarding
process. Speaking for the staff, Ms. Hamilton wish Mrs. Weeks the very best in her retirement.

There being no further business, the meeting was adjourned.



                                             Sharon Hillman, Administrative Coordinator.
                                             Registration and Elections
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              MINUTES OF THE EXECUTIVE SESSION OF THE BOARD
                     OF REGISTRATION AND ELECTIONS
                             DEKALB COUNTY
                               August 1, 2019

                                     CONFIDENTIAL


Chair Samuel Tillman announced that the Board would adjourn into Executive Session to discuss
a legal matter.

An “Open Meeting Affidavit” document was signed and notarized and will be included with the
minutes.

There being no further business, the Executive Session was adjourned and the Board returned to
open session.



                                                  ____________________________________
                                                  Sharon Hillman
                                                  Administrative Coordinator
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                      MINUTES OF THE MEETING OF THE BOARD
                         OF REGISTRATION AND ELECTIONS
                                 DEKALB COUNTY
                                 September 12, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
September 12th, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:               Anthony Lewis, Board Member
                       Susan Motter, Board Member
                       Dele Lowman Smith, Board Member
                       Baoky Vu, Board Member
                       Erica Hamilton, Director
                       Tiffani Gilbert, Elections Supervisor
                       Twyla Hart, Registration Supervisor
                       Sharon Hillman, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:38 PM and asked for approval of the
agenda. There were no changes or additions and the agenda was adopted.

Minutes
Ms. Smith brought to attention that the minutes did not reflect the correct reason for the Executive
Session. A motion was made by Mr. Lewis to approve the minutes with the correction made. Mr.
Vu seconded the motion. The question was called and the motion was approved unanimously.

Comments from the Public
Nine citizens signed in and spoke. Citizens spoke of their concerns on the transparency of the
Board, the new election machines, and the need for different accommodations for the meetings.
One citizen expressed his appreciation of Director Hamilton.

Challenges -- Director Erica Hamilton provided the Georgia Code section for challenging voters
and presented the following challenges.
       A) Julia Whitney Harrell and William Doyle Harrell III – Information was received from
           an elector that Ms. Harrell and Mr. Harrell did not live at their registered address. Ms.
           Motter brought additional information showing that the individuals did not resides at
           the address in question. Staff recommended that the voters be placed into cancelled
           status. Mr. Vu made a motion to follow the staff recommendation and change the status
           to cancelled. Mr. Lewis seconded the motion. The question was called and the motion
           was unanimously passed.
       B) Tray C. Cost – Ms. Hamilton stated that Mr. Cost registered several years prior to 2019.
           He was placed in pending status because he did not verify. However, with the passage
           and changes outline in House Bill 316, this individual was placed back into active
           status. Ms. Hamilton stated that there were two options: change the individuals status
           or place the individual in cancelled status. Mr. Vu motioned for the voter’s status to be
           updated to cancelled. Mr. Vu’s motion died from lack of second. Ms. Motter motioned
           for Mr. Cost to be moved to inactive status. Ms. Smith asked Ms. Hamilton about the
           process of being an inactive voter. Ms. Hamilton explained the process and
           implications of changing the status to inactive. The question was called, and the motion
           was not passed. Mr. Vu made a motion to place the voter in cancelled status. Mr. Lewis
           second the motion. The question was called and the motion was passed by a majority
           of three with Mr. Tillman’s yea vote. Ms. Smith and Ms. Motter voted nay.
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       C) Challenge List Provided by Lawrence Hoskins – Ms. Hamilton reported that during
          canvassing, an elector found the voters on the list did not reside at their registered
          address. Ms. Hamilton discussed the possible options with the Board. An individual
          on the list was present for the meeting. She stated that she no longer resides as the
          address but still in DeKalb County. Ms. Motter proposed that the list be broken into
          categories. After discussion, Mr. Tillman made an executive decision to have the list
          altered and to revisit the list during the October meeting.
       D) Jacinda “Cindy” Thomas – A challenge against Ms. Thomas’s eligibility to hold the
          Office of Mayor of Lithonia was made in regards to the residency requirements. Mr.
          Tillman swore in all those who were present for Ms. Thomas’s challenge who planned
          to present information. Ms. Thomas and her attorney provided information regarding
          her residency in Lithonia. Several individuals spoke about the residency of Ms.
          Thomas. Ms. Smith motioned for Ms. Thomas to be retained as a candidate. Mr. Vu
          second the motion. The question was called and the motion was unanimously approved.

Unfinished Business
Ms. Hamilton stated that there was no unfinished business from the staff. Ms. Smith motioned that
the board revisit the issue regarding the voters registered at 444 Sycamore Drive. Mr. Vu seconded
the motion. The question was called and the motion was approved unanimously. Ms. Smith
motioned to reconsider the action taken by the Board during the August meeting regarding the
voters at 444 Sycamore Drive. Mr. Vu seconded the motion. The question as called and the motion
as unanimously passed. Ms. Hamilton gave an update on the voters and explained why the original
challenge had been brought to the board. There was discussion and no further action was taken by
the Board.

New Business
  A) Absentee In Person Application Approval - Ms. Hamilton stated that after considering
     citizens’ concerns over the Advance In Person Voting Application, the office created its
     own application that is compliant with the law. The application has been reviewed by legal
     council. A motion was called by Mr. Lewis to adopt the application. Mr. Vu seconded the
     motion. The question was called, and the motion was approved unanimously.
  B) Advance Voting Locations and Times – Ms. Hamilton presented the staff recommendation
     for Advance Voting Locations and Times. Any additional satellite location is the
     responsibility of the cities. All locations are open to any voter during the recommended
     dates and times. She also made public that on October 17, all DeKalb County Libraries
     would be closed but open for voting. Mr. Tillman stated that there is a county wide initiative
     on the ballot this year. Mr. Vu motioned for the Advance Voting Locations and Times to
     be adopted. Mr. Lewis seconded the motion. The question was called, and the motion was
     approved unanimously.
  C) National Voter Registration Day – Ms. Hamilton stated that in honor of National Voter
     Registration Day, the office would be holding a county-wide training on September 24,
     2019       at    the     Lou      Walker      Center.      A     letter   was     sent      to
     Civic Leaders, County Commissioners, Pastors, and schools. The training will provide
     important information on the 2019/2020 Election Cycles, registering voters, and becoming
     a poll worker. Mr. Tillman also stated that when the county receives the new voting
     machine, staff will be holding trainings throughout the county and advised all to contact
     the staff if any group is interested in holding a training on the new machines.
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Comments from the Board – Ms. Motter thanked the public for turning out for the Board meeting.
Mr. Tillman thanked everyone for coming out and mentioned that there will be discussion on a
different location.

There being no further business, the meeting was adjourned.



                                           Sharon Hillman, Administrative Coordinator.
                                           Registration and Elections
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                      MINUTES OF THE MEETING OF THE BOARD
                         OF REGISTRATION AND ELECTIONS
                                 DEKALB COUNTY
                                  October 10, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
October 10th, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:               Anthony Lewis, Board Member
                       Susan Motter, Board Member
                       Dele Lowman Smith, Board Member
                       Baoky Vu, Board Member
                       Erica Hamilton, Director
                       Tiffani Gilbert, Elections Supervisor
                       Twyla Hart, Registration Supervisor
                       Sharon Hillman, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:33 PM and asked for approval of the
agenda. There were no changes or additions and the agenda was adopted.

Minutes
A motion was made by Mr. Vu to approve the minutes. Ms. Smith seconded the motion. The
question was called and the motion was approved unanimously.

Comments from the Public
Six citizens signed in and addressed the Board. Citizens voiced their concerns on placing voters in
cancelled status and of their concerns on keeping voter rolls up-to-date. One citizen provided
information regarding an agenda item.

Challenges -- Director Erica Hamilton provided the Georgia Code section for challenging voters
and presented the following challenges.
       A) John Coleman –The Board was provided information from Jamie Schickler and
           Winston Persaud that John Coleman did not reside at the registered address. A letter
           was mailed to Mr. Coleman asking to verify his address. With no return
           correspondence, the staff recommended to place the voter into cancelled status. Mr.
           Vu made a motion to follow the staff recommendation and change the status to
           cancelled. Mr. Lewis seconded the motion. The question was called and the motion
           was passed with a 3-2 vote. Ms. Smith and Ms. Motter voted nay.
       B) Simba McWonder – The Board was provided information from Thomas Bowen who
           resides at the registered address that Simba McWonder does not reside at the address.
           A letter was mailed to Simba McWonder. No return correspondence was received. The
           staff recommended to place the voter into cancelled status. Mr. Lewis made a motion
           to follow the staff recommendation and change the status to cancelled. Mr. Vu
           seconded the motion. The question was called and the motion was passed with a 3-2
           vote. Ms. Smith and Ms. Motter voted nay.
       C) Jesse Posey – The Board was provided information from Sheryl Shanholtzer who
           resides at the registered address that Jesse Posey does not reside at the address. A letter
           was mailed to Jesse Posey, and no correspondence was returned to the office. The staff
           recommendation was to place the voter in cancelled status. Mr. Vu made a motion to
           change Jesse Posey’s registration status to cancelled. Mr. Lewis seconded the motion.
           There was a discussion regarding the site where Mr. Posey registered. Mr. Vu motioned
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           to table any vote or discussion while Registration Supervisor Twyla Hart gathered
           additional information. Ms. Smith seconded the motion. The question was called and
           the motion was approved unanimously.

           After discussion of unfinished business and with new supporting evidence, Ms. Smith
          motioned to remove Jesse Posey from the table. The motion was second by Mr. Vu.
          Ms. Hamilton brought additional information on Mr. Posey’s registration history. Mr.
          Vu made a motion to place Mr. Posey into cancelled status. Mr. Lewis second the
          motion. The question was called and the motion was unanimously passed.
       D) Michael White – The Board was provided information from Michael White who resides
          at the registered address that the particular Michael White in question does not reside
          at the registered address. A letter was mailed to Mr. White. No return correspondence
          was received. The staff recommended to place the voter into cancelled status. Ms.
          Smith questioned status regarding the voter registration process. Mr. Vu made a motion
          to follow the staff recommendation and change the status to cancelled. Mr. Lewis
          seconded the motion. The question was called and the motion was passed with a 3-2
          vote. Ms. Smith and Ms. Motter voted nay
       E) DeShawn Tracy Willborn – The Board was provided information from the resident of
          the registered address that Mr. Willborn did not reside at the address but that he actually
          resides across the hall. A letter was mailed to Mr. Willborn, and the office did not
          receive correspondence back. There was a discussion on contacting Mr. Willborn by
          different means. Mr. Vu motioned to table to the vote until further research was
          completed. Mr. Lewis seconded the motion. The question was called and the motion
          was passed unanimously.

Unfinished Business
       A) Challenge List Provided By Lawrence H. Hoskins – Members of the Board discussed
          the new format requested at the September meeting for the challenges brought by Mr.
          Lawrence Hoskins. Chairman Tillman stated that because the Registration Deadline for
          the November 5, 2019 deadline had passed, he was hesitant to place any voters from
          this group into the cancelled status. Ms. Smith motioned to table the discussion until
          the November Board Meeting. The motion was seconded by Ms. Motter. The question
          was called and the motion was passed unanimously.

New Business
  A) November Board Meeting Date - Ms. Hamilton stated that due to HB 316, the certification
     deadline has been extended, and she recommended the November Board Meeting be
     moved to November 15th. Mr. Vu made a motion to change the date to November 15th. Ms.
     Smith seconded the motion. The question was called and the motion passed unanimously.
  B) Approve the November 5, 2019 General Municipal/Special Election Poll Officials – The
     Board was provided a list of Election Officials with demographical information, in
     accordance to O.C.G.A § 21-2-90. Ms. Hamilton stated the training would complete next
     week. A motion was made to approve the list of Poll Officials and was seconded. The
     question was called and the motion was unanimously passed.
  C) Emory Road Precinct Change – Ms. Hamilton stated that the staff was not able to find an
     adequate permanent replacement for the Emory Road Precinct. It is the recommendation
     of the staff that the precinct be split between the Fernbank Elementary Precinct and the
     Druid Hills Precinct. Per Georgia Law, the precinct changes would be brought to the Board
     of Commissioners for a vote if the Board of Voter Registration and Elections approved
     them. Mr. Vu made a motion to approve that the changes recommended by the staff be
     brought to the Board of Commissioners. Ms. Smith second the motion. After discussion on
     engaging the community on the changes, the question was called and the motion was
     approved unanimously.
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Comments from the Board – Mr. Lewis spoke on the importance of considering both sides of
challenges when brought to the Board.

Comments from the Staff – Ms. Hamilton informed the Board that final preparations were being
made for the start of Early and Election Day voting as well as that some staff training had begun
on the new equipment.

There being no further business, the meeting was adjourned.



                                            Sharon Hillman, Administrative Coordinator.
                                            Registration and Elections
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ERICA HAMILTON                                                                                BOARD MEMBERS
VOTER REGISTRATION & ELECTIONS DIRECTOR                                                            ANTHONY LEWIS
(404) 298-4020                                                                                       SUSAN MOTTER
FAX (404) 298-4038                                                                             DELE LOWMAN SMITH
                                                                                                SAMUEL E. TILLMAN
                                                                                                         BAOKY VU


                                          Board of Registration and Elections
                                                4380 Memorial Drive, Suite 300
                                                   Decatur, Georgia 30032




                                                     July 15, 2019



    Ms. Claudine R. Hargrove
    444 Sycamore Drive
    Decatur, GA 30030

    Dear Voter:

    This office has received information from the city of Decatur regarding your eligibility and residency
    at the above address for the purpose of voting. Since there is question of your eligibility in DeKalb
    County, there will be a challenge to your right to remain a registered voter in this county.

    The DeKalb Board of Registrations and Elections has set the matter down for a hearing to be held on
    Thursday, August 1, at 4:30 PM, in the office of Voter Registration & Elections, located at 4380
    Memorial Drive, Decatur, Georgia. You are requested to appear before the Board at this time.

    Please be prepared to provide evidence to show that you are eligible and do reside at the above
    address. Items that may be used to establish proof are: car registration, income tax returns, utility
    bills, proof of Homestead Exemption, and property tax bills or statements, etc. You have the right to
    be represented by legal counsel, at your own expense, if you so desire.

    This notice is given pursuant to O.C.G.A. §21-2-229. Failure to appear at the time specified in any
    notice given under this article may constitute cause for removing an elector's name from the voters
    list.

    Sincerely,




    Erica Hamilton
    Director

    cc:       DeKalb County Board of Registration and Elections
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            EXHIBIT 9
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August 20, 2019


RE:    Removal of Registered Voters from 444 Sycamore Drive, Decatur, GA


In May 2019, the City Clerk for the City of Decatur was asked to verify registered voters and the
list of municipal streets by the DeKalb County Voter Registration and Elections (DCVRE)
Office. City staff reviewed the files provided by the County to ensure that the list of municipal
streets was correct and returned the files on June 26, 2019 to Deborah Christian, DeKalb County
Election Coordinator. The City Clerk submitted the list of registered voters without a challenge.

The City Clerk notified DCVRE that 444 Sycamore Drive, which was included on the DCVRE
municipal streets file, does not appear in the City’s property database nor does it appear in the
County’s property database.

The City Clerk was contacted by Election Coordinator Glenda Woods by telephone regarding the
notice of 444 Sycamore Drive as a non-address. In her research Ms. Woods determined that 444
Sycamore Drive was owned by one of her colleagues, Administrative Coordinator Mary Frances
Weeks, and that the legal address of the property was 207 Springdale Avenue. Ms. Woods
informed the City that DCVRE would take care of notifying the voters with a 444 Sycamore
Drive address about the address discrepancy.

The City of Decatur did not request a challenge to the voter list or the municipal streets list.
Rather, the City notified DCVRE of the discrepancy in the addressing as was the charge in the
Municipal Street Maintenance List Checklist form provided by the County. The County initiated
the challenge of the voters at the address in question.




Andrea Arnold
City Manager
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                                      October 28, 2019
                                 Via U.S. Mail, Email and Fax

 Members of the DeKalb County                Erica Hamilton
 Board of Elections and Registration         Voter Registration and Elections Director
 Anthony Lewis                               DeKalb County Board of
 Susan Motter                                Registration and Elections
 Dele Lowman Smith                           4380 Memorial Drive, Suite 300
 Samuel Tillman                              Decatur, GA 30032
 Baoky N. Vu                                 Email: ehamilton@dekalbcountyga.gov
 4380 Memorial Drive, Suite 300              Fax: 404-298-4038
 Decatur, GA 30032
 Email: voterreg@dekalbcountyga.gov
 Fax: 404-298-4038

 Bennett D. Bryan
 Senior Assistant County Attorney
 DeKalb County
 1300 Commerce Drive
 Decatur, GA 30030
 Email: benbryan@dekalbcountyga.gov
 Fax: 478-277-2933

RE: Notice Letter Pursuant to the National Voter Registration Act of 1993

Dear Madams and Sirs:

        We write to notify you, on behalf of the Georgia Coalition for the Peoples’
Agenda, the Georgia NAACP, and the New Georgia Project that the DeKalb County
Board of Registration and Elections (“BORE”), including Anthony Lewis, Susan Motter,
Dele Lowman Smith, Samuel Tillman, and Baoky Vu; and Voter Registration and
Elections Director Erica Hamilton, all acting in their official capacities (collectively
“Respondents”), have removed voters and conducted voter list maintenance activities in
violation of Section 8 of the National Voter Registration Act, 52 U.S.C. § 20507. The
Board’s practice of unlawfully purging voters in violation of Section 8 is continuing
notwithstanding our previous correspondence and repeated outreach to the county
attorney’s office. See Exhibit A (August 20, 2019 and September 25, 2019 letters).

       Based upon our investigation to date, it appears that Respondents have violated,
and are continuing to violate, 52 U.S.C. § 20507(b)(1) and 52 U.S.C. §§ 20507(d)-(f) by:




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         (1) immediately removing DeKalb County registered voters because of alleged
             address changes without following the NVRA’s mandatory address
             confirmation procedures or implementing a waiting period of two federal
             election cycles before removal; and

         (2) soliciting challenges and removing registered voters in a non-uniform and
             discriminatory manner, by targeting registered voters in the City of Decatur
             and other municipalities but not registered voters in unincorporated portions
             of DeKalb County; and by targeting registered voters based on their perceived
             non-traditional or impermanent residency status.

        For the reasons discussed below, we urge you to immediately restore all electors
to the DeKalb County voter registration list who have been removed through the
challenge process, except for those who have confirmed in writing that they are not
eligible to vote in DeKalb County. We also ask that you immediately cease and desist
from continuing to challenge or remove electors from the voter registration list in
violation of the NVRA.

      1. Respondents are Immediately Removing Eligible Voters Because of Alleged
         Address Changes without Complying with Section 8(d)’s Notice Requirement
         or Waiting Two Federal Election Cycles

        Section 8(d) of the NVRA sets forth the exclusive method for removing active
and inactive electors who are eligible to vote in federal elections from the official DeKalb
County voter registration list due to alleged address changes. 1 It prohibits election
officials from removing electors eligible to vote in federal elections from the official
voter registration list based upon a change of residence unless the registrant “(A)
confirms in writing that the registrant has changed residence to a place outside the
registrar’s jurisdiction in which the registrant is registered; or (B)(i) has failed to respond
to a notice [asking the voter to send a postage pre-paid, pre-addressed card to confirm his
or her address has not changed]; and (ii) has not voted or appeared to vote . . . in an
election . . . beginning on the date of the notice and ending on the day after the date of the
second general election for Federal office that occurs after the date of the notice.” 52
U.S.C. § 20507(d); see also U.S. Student Ass’n Found. v. Land, 546 F.3d 373, 381-82
(6th Cir. 2008) (a registered elector cannot be removed “from an official registration list
on the grounds that his or her residence has changed unless the specified criteria of
[Section 8] are met . . . .”); Common Cause v. Indiana, 937 F.3d 944, 958-59 (7th Cir.
2019).



1
 Registered electors in DeKalb County are eligible to vote in federal elections since the State of Georgia
maintains a unitary voter registration process for state and federal elections.

                                                     2
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       Moreover, 52 U.S.C. §§ 20507(e) and (f) allow registered voters to update their
address as late as on Election Day and vote a regular ballot when they have moved
between addresses within the same county and congressional district.

        Despite the fact that Section 8(d) strictly limits the manner in which registered
voters eligible to vote in federal elections may be removed from the list of eligible
electors because of address changes, the Board is removing voters from the registration
list without following the procedures mandated by the NVRA. Instead of sending a
confirmation notice and waiting two federal election cycles before purging voters who
have allegedly moved from their address of registration, the Board is removing voters
immediately. This practice violates Section 8.

       For example, at the DeKalb County Board of Elections meeting on August 1,
2019, Respondents immediately purged one voter because he allegedly “has not lived at
the address since 2015” and a letter addressed to him “was returned undeliverable.” 2
Three other voters were purged at the same meeting because a third party sent a letter to
the Board stating they “no longer lived at the address” and a “letter addressed to each
individual was returned undeliverable.” 3

        The minutes from the September 12 and October 10, 2019, hearings confirm that
the Board is continuing to purge citizens from the rolls based on allegations from a third
party that the voter no longer lives at his or her address of registration without waiting
two federal election cycles. 4 The minutes do not indicate that the challengers provided
the Board with any evidence corroborating the bare assertion that the voters in question
no longer lived at their address of registration. It does not appear the Board mailed
confirmation notices to at least some of these voters before their registrations were
cancelled, while other voters were mailed “a letter” to which “no return correspondence
was received.” Finally, the minutes indicate that one voter was purged after his
registration status had been changed from inactive to active status due to a change in
Georgia election law. 5

          2. Respondents are Violating Section 8(b)(1) of the NVRA by Removing
             Electors in a Non-Uniform and Discriminatory Manner

        Section 8(b) of the NVRA provides that “[a]ny State program or activity to
protect the integrity of the electoral process . . . shall be uniform, nondiscriminatory, and
in compliance with the Voting Rights Act of 1965.” 52 U.S.C. § 20507(b)(1). The term

2
    See Exhibit B.
3
    Id.
4
    See Exhibits C and D.
5
    Id.

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“uniform” as used in Section 8(b)(1) of the NVRA is intended to mean “that any purge
program or activity must be applied to an entire jurisdiction.” House Report No. 103-9,
H.R. REP. 103-9, 15-16, 1993 U.S.C.C.A.N. 105, 119-20 (emphasis added).
Nonetheless, Respondents are purging electors in a non-uniform and discriminatory
manner contrary to Section 8(b) in at least two ways.

        First, the available evidence indicates that Respondents are targeting voters in
municipalities – in particular, the City of Decatur – for voter purges without similarly
targeting voters who live in rural or non-urban areas. For example, on May 2, 2019, the
Board sent an email to the City of Decatur asking for the City to review a “list of
registered voters for the City of Decatur” for the purpose of suggesting “any voters that
[the City] would like to challenge.” 6

       The August 2019 Board minutes reveal that the Board purged several voters who
were registered to vote at 444 Sycamore Drive, Decatur, GA 30030, where the Peer
Support, Wellness, and Respite Center is located. The facility provides temporary
housing for individuals with mental disabilities who are struggling with homelessness. 7

        The Board’s August 2019 Board minutes state, inaccurately, that the “City of
Decatur challenged” the 444 Sycamore Drive voters. 8 In fact, it appears that Mary
Frances Weeks, a Board employee who had an ownership interest in the property,
initiated the 444 Sycamore Drive challenge. 9 In response, Decatur City Manager Andrea
Arnold wrote a letter to the Board reminding the Board that “[t]he City of Decatur did not
request a challenge to the voter list… rather… the County initiated the challenge of the
voters at [444 Sycamore Drive].” 10 Purging voters at the behest of a Board employee
who has a personal interest in the property at issue is precisely the kind of non-uniform,
discriminatory list-maintenance activity prohibited by the Section 8(b)(1). We also ask
that you explain why the Board initially asserted the City of Decatur was responsible for
the challenges when that was not the case. Finally, Respondents’ solicitations of
municipal challenges cannot further any legitimate state interest because state law only
permits individual electors, not municipalities, to file challenges. See O.C.G.A. §§ 21-2-
229(a) (stating that electors may initiate challenges), 21-2-2(7) (defining “elector”).

        Second, the available evidence indicates that Respondents are discriminating
against voters in perceived non-traditional or impermanent residences. Nothing in federal
or state law requires voters to live in a traditional, permanent home in order to exercise

6
    See Exhibit E.
7
    See Exhibit C, 2.
8
    Id.
9
    See Exhibit F.
10
     See Exhibit G.

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the sacred right to vote. See Dozier v. Baker, 283 Ga. 543, 545 (2008) (“No definite
amount of time spent in a place is essential to make that place a home . . . Time of
residence in another jurisdiction is not decisive of the question of domicile”) (citations
and internal alterations omitted); see also Cook v. Bd. of Registrars of Randolph Cty., 320
Ga. App. 447, 452 (2013) (holding individual resides in Randolph County although he
maintains an Alabama residence and “lacked a fixed habitation”); O.C.G.A. § 21-2-2(32)
(“‘Residence’ means domicile”). Neither Georgia nor federal law sanctions the
disenfranchisement of registered voters simply because they are struggling with
homelessness.

   3. Request Pursuant to the Georgia Open Records Act and the National Voter
      Registration Act of 1993

Pursuant to the National Voter Registration Act of 1993 (52 U.S.C. §§ 20507(i)(1)-(2))
and the Georgia Open Records Act (O.C.G.A. § 50-18-71) (hereinafter, “GORA”), we
request the following records related to voter challenges and purges of DeKalb County
electors at DeKalb County Board of Elections hearings since January 1, 2019:

1. All public notices concerning all said challenges;
2. All notices issued to each challenged elector;
3. All communications sent to any governmental entity, including municipalities and
    DeKalb County, concerning said challenges;
4. All records evidencing any and all communications between the Board of
    Elections and any and all challenged electors and/or electors making any
    challenges;
5. All records evidencing each challenge, including, but not limited to, any and all
    records evidencing the alleged factual and legal bases in support of and in
    opposition to each said challenge;
6. All records evidencing the identity of each challenger and each challenged
    elector, including, but not limited to, the name, racial identification, address,
    telephone number and email address of each challenger and challenged elector;
7. All Enet records for each challenged elector and person(s) making said
    challenges;
8. All agendas and minutes for each and every Board of Elections meeting during
    which any such challenges were discussed, considered and/or ruled upon;
9. All notes, memoranda, reports, correspondence, recordings (audio and
    video), transcriptions and all other records of any kind concerning said
    challenges;
10. All records evidencing the final disposition of each challenge, including any
    and all records evidencing notice of the disposition of each such challenge.

        Please note that in the interest of conserving time and expense, we are amenable
to receiving the requested records electronically, if possible. If you anticipate that the

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cost of responding to this request will exceed $50.00, please contact the undersigned with
the estimate for the production of the records for our approval before reproducing the
records. To the extent that you intend to comply with this request but anticipate it may
take longer than three (3) business days to produce some of the records than others,
please produce the records as they become available.

   4. Conclusion

        The available evidence indicates that Respondents have challenged and purged
electors registered to vote in DeKalb County without complying with the procedures
mandated by Sections 8 of the NVRA. We therefore urge you to restore all electors who
have been removed from the rolls in violation of those provisions to active status and to
confirm in writing that all of the unlawfully purged voters who live in incorporated
municipalities will be eligible to vote in the November 5, 2019 election. We also urge
you to cease and desist from conducting such challenges and purges in the future.

       Please be advised that we reserve the right to pursue all available legal remedies,
including litigation and, ultimately, an award of attorneys’ fees and costs, should you
choose to continue to violate the NVRA.

       Thank you for your attention and anticipated cooperation.

Sincerely,




John Powers                                          Sean J. Young
Counsel                                              Legal Director
Lawyers’ Committee for Civil Rights                  ACLU of Georgia
       Under Law                                     P.O. Box 77208
1500 K Street NW, Suite 900                          Atlanta, GA 30357
Washington, DC 20005                                 (770) 303-8111
(202) 662-8389                                       syoung@acluga.org
jpowers@lawyerscommittee.org




Sophia Lin Lakin
Staff Attorney
American Civil Liberties Unin
125 Broad Street, 18th Floor
                                             6
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New York, NY 10004
(212) 519-7836
slakin@aclu.org

Cc: Brad Raffensperger, Georgia Secretary of State
    Chris Harvey, Director of Elections
    Cristina Correia, Senior Assistant Attorney General




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               Exhibit A
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P.O. Box 77208, Atlanta, GA 30357
770.303.8111|syoung@acluga.org



August 20, 2019

Members of the DeKalb County
Board of Registration and Elections
1300 Commerce Drive
Decatur, GA 30030
voterreg@dekalbcountyga.gov

Erica Hamilton, Director
DeKalb County
Board of Registration and Elections
1300 Commerce Drive
Decatur, GA 30030
ehamilton@dekalbcountyga.gov

Via Certified Mail and E-mail

           Re: Voter Purge of Residents at the Peer Support, Wellness, and Respite Center,
           and Open Records Request

To the DeKalb Board of Registration and Elections,

        The ACLU of Georgia and Lawyers’ Committee for Civil Rights Under Law write on
behalf of the New Georgia Project and the Georgia Coalition for the Peoples’ Agenda in
response to a voter purge of Decatur residents approved during your August 1, 2019 meeting.
According to the Board Minutes, which are appended as Exhibit A, you categorically purged
several voters, including all of those who listed as their residence 444 Sycamore Drive, Decatur,
GA 30030. 1 The purge of the voters at 444 Sycamore Drive was in response to a challenge filed
by the City of Decatur, although it is not clear who asked the City of Decatur to challenge these
voters. Your stated reason for the purge was that this address “is a business where clients can
only stay for three days, and citizens cannot register at a business,” and that based on your
“understanding,” “at one point, it was a residence.” The minutes, however, do not cite to any
evidence in support of these assertions.

      The registered voters at 444 Sycamore Drive appear to be among the most vulnerable
among us and hardest hit by life’s struggles. Located at that address is the Peer Support,


1
    Board Minutes dated August 1, 2019, located at https://bit.ly/2z4gkrj.
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Wellness, and Respite Center, which according to its website (see Exhibit B) 2 is freely available
for people with mental disabilities who need housing to avoid psychiatric hospitalization, and
where residents may stay up to seven nights (not three nights), in 30-day intervals presumably
indefinitely. That building can thus serve as a residence for many people who reside there or rely
on it as a steady home base while they struggle to find permanent housing. Indeed, it may be the
only home for people who are otherwise homeless, have challenging mental disabilities, and
have nowhere else to turn.

        Stable housing is not a prerequisite to voting. Furthermore, neither state nor federal law
grant election officials the authority to decide what locations count as a “residence” or determine
where voters may or may not live for voting purposes. A voter’s “residence” is often dictated by
socioeconomic status and the government’s failure to provide stable housing or healthcare. For
instance, what a wealthy person considers a “parking lot” may in fact be a “residence” for some
people who are homeless. Families with lesser economic means may live where they work
because they cannot afford a separate house. In short, while some Georgia voters are homeless or
transient, the sacred and fundamental right to vote does not lay in the hands of armchair zoning
commissioners.

        Given the importance of the right to vote, election officials must be vigilant when
considering challenges or requests to disenfranchise people that are based on Google Maps or
their preconceived notions of what a “residence” looks like. If the recent voter purge was based
on a more thorough investigation than the Board Minutes reflect, please provide us all the
evidence relied upon to make your determination. We are therefore making an Open Records
Request to attempt to shed some light on this process.

Potential Illegality of August 1, 2019 Voter Purge

           The recent voter purge raises numerous legal red flags that we ask you to address.

        First, your designation of the Peer Support, Wellness, and Respite Center as a “business”
as opposed to a “residence” is not only wrong, but illogical and irrelevant. Illogical, because a
location can be both. Irrelevant, because the word “business” does not appear anywhere in the
lengthy, multi-factor test for determining voting residency set forth in O.C.G.A. § 21-2-217,
which are highly dependent on an individual’s particularized and unique circumstances. 3

         Second, if someone registered to vote while residing at the Center but the Center is no
longer their home, Georgia law provides that such registered voters can still vote even after they
have moved. When voting, such voters can change their address either by applying for an
absentee ballot, O.C.G.A. § 21-2-229(c), or vote in-person at the assigned polling place while
filling out a change-of-address form. See O.C.G.A. § 21-2-229(d). Either way, they are still
allowed to vote.

2
    See https://www.gmhcn.org/peer-support-wellness-respite.

3
    With one exception: the statute provides that a voter’s “business pursuits” can be relevant to residency.


                                                             2
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         Similarly, Georgia law provides a standard mechanism for dealing with confirming the
residency of registered voters. Under O.C.G.A. § 21-2-234(b)-(c), 4 if mailings sent to registered
voters are returned undeliverable by the United States Postal Service, a confirmation notice must
be sent to such voters giving the voter an opportunity to change their address. And even if such
confirmation notice is not returned, the voter is not immediately removed from the rolls, but
placed in “inactive” status. “Inactive” status still allows them to vote and guarantees that they
can still vote for at least two more federal election cycles (up to four years) before they are
finally removed, and even then, such voters receive a final notice 30-60 days before they are
removed under a recent amendment to the law. See O.C.G.A. § 21-2-235; see also 52 U.S.C. §
20507(d).

        We further remind you that the National Voter Registration Act (NVRA) requires that
any list maintenance procedure be “uniform” and “nondiscriminatory,” 52 U.S.C. § 20507(b)(1),
not targeted towards people who may not be living in a traditional residence. Indeed, while
O.C.G.A. § 21-2-228 provides that the Board “shall have the right and shall be charged with the
duty of examining from time to time the qualifications of each elector of the county,” any such
examination must comply with the NVRA and state law, including those provisions related to
voters who might have changed their address. 5

        Third, the purge of the 444 Sycamore Drive voters occurred in response to a challenge
by the City of Decatur, but only individual voters (an “elector”) can file challenges to a voter’s
qualifications, not municipalities. See O.C.G.A. § 21-2-229(a) (“Any elector of a county or
municipality may challenge the qualifications of . . . any elector of the county or municipality
whose name appears on the list of electors.”); (b) (referring to “the elector making the
challenge”). “Elector” is defined as “any person who shall possess all of the qualifications for
voting . . . and shall have registered in accordance with this chapter.” O.C.G.A. § 21-2-2(7).

        This law ensures that voters have the right to know their accuser. For example, it is
unknown which employee or resident of the City of Decatur decided to launch this challenge.
The registered voters of 444 Sycamore Drive deserve to know what person is trying to
disenfranchise them. If you know, please tell us.

        Fourth, a voter’s residency does not depend solely on how long they stay in one place.
See Dozier v. Baker, 283 Ga. 543, 545 (2008) (“No definite amount of time spent in a place is
essential to make that place a home . . . Time of residence in another jurisdiction is not decisive

4
  In citing this statute, we do not concede that it is compliant with the NVRA’s restriction on unreasonable list
maintenance procedures, the Voting Rights Act, or the United States Constitution. But even assuming it is lawful, it
is not clear whether you considered this procedure.

5
 O.C.G.A. § 21-2-228(b) requires an individualized inquiry, including three days of written notice to registered
voters subject to challenge and a hearing for each voter. If the Board conducted such an individualized inquiry,
please provide copies of all written notices or hearing documents, if any, related to this process, including any letters
or other communications with the voter.


                                                           3
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of the question of domicile”) (citations and internal alterations omitted); O.C.G.A. § 21-2-2(32)
(“‘Residence’ means domicile”). In any event, your assertion that people can only stay there
three days contradicts the Center’s website, which states that people can stay there up to seven
days, potentially at 30-day intervals. If you have evidence that the Center’s website is false,
please provide it.

Open Records Request

        To obtain an understanding of the processes you followed to conduct this purge, pursuant
to the Georgia Open Records Act (O.C.G.A. § 50-18-70 et seq.), we request access to inspect and
copy the following public records prepared or received by the DeKalb County Board of
Registration & Elections, or its employees:

       All documents and emails concerning the voters purged on August 1, 2019, including
       those registered at 444 Sycamore Drive, Decatur, GA 30030, including their racial
       identification and voting histories.

       All documents and emails reflecting any notices or communications mailed or otherwise
       sent to the voters removed from the rolls on August 1, 2019.

       All documents and emails reflecting any hearings or other proceedings conducted in
       connection with the removal of voters on August 1, 2019, as well as the determinations
       and conclusions resulting from such hearings, and any supporting or countervailing
       evidence.

       All documents and emails reflecting communications between the DeKalb County Board
       of Registration & Elections and the City of Decatur concerning the location at 444
       Sycamore Drive.

       Copies of all written challenges filed by the City of Decatur in connection with the voters
       registered at 444 Sycamore Drive.

       Documents reflecting the identity of which person(s) were involved in the City of
       Decatur’s challenge to the qualifications of voters registered at 444 Sycamore Drive.

       All documents and emails reflecting subpoenas or other formal or informal requests for
       information issued in connection with any investigation of whether 444 Sycamore Drive
       is considered by you to be a “residence” or a “business,” as well as all documents
       reflecting your analysis and determination of whether the location was a “residence” or a
       “business.”

       Copies of all evidence and statutes relied upon by you in concluding that every individual
       removed on August 1, 2019, is not eligible to vote in DeKalb County.

       All communications between you and the Peer Support, Wellness, and Respite Center
       (also known as “Decatur Peer Support & Wellness Center”) located in Decatur.


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       All documents and emails reflecting the time at which a removed voter was registered at
       444 Sycamore Drive, evidence supporting your determination of when 444 Sycamore
       Drive allegedly transitioned from being a “residence” to a “business,” and a comparison
       of whether such removed voter claimed residency at 444 Sycamore Drive before or after
       such alleged transition.

        Thank you for your prompt attention. We look forward to further discussion on this
matter. Feel free to reach us by phone if easier.

Sincerely,




Sean J. Young                                      John Powers
Legal Director                                     Counsel
ACLU of Georgia                                    Lawyers’ Committee for Civil Rights
Atlanta, GA 30309                                  Under Law
Telephone: (770) 303-8111                          1500 K Street NW, Suite 900
Email: syoung@acluga.org                           Washington, DC 20005
                                                   Telephone: (202) 662-8389
                                                   Email: jpowers@lawyerscommittee.org

CC by e-mail and certified mail:

Mayor Patti Garrett
patti.garrett@decaturga.com

Mayor Pro Tem Tony Powers
tony.powers@decaturga.com

Decatur City Commissioners Brian Smith, Kelly Walsh, and Scott Drake
brian.smith@decaturga.com
kelly.walsh@decaturga.com
scott.drake@decaturga.com

Decatur City Hall
509 North McDonough St.
Decatur, GA 30030




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                                                peer support, wellness, and
                                                respite centers

                                 The Peer Support, Wellness, and Respite Centers are peer-run alternatives to traditional mental health day programs and
                                 psychiatric hospitalization.

                                 Each of the five Peer Support, Wellness, and Respite Centers has respite rooms available to citizens of Georgia, available 24 hours
                                 a day, year-round. The three respite rooms at each center are free of charge and can be occupied by an individual overwhelmed by
                                 life challenges who feels they would benefit from 24/7 peer support, for up to seven nights, every 30 days.

                                 Peers often use Respite to avoid psychiatric hospitalization. An individual must have a Proactive Interview on file before being
                                 eligible for Respite. They must also be at least 18 years of age, self-identify as a person who is a consumer of mental health
                                 services, have a house tour, and sign Participation Guidelines. Peers are welcome to participate in all activities, regardless of
                                 whether that are staying overnight. Activities vary by location--please call ahead to verify the schedule. Descriptions of activities are
                                 at the bottom of this page.

                                 All overnight participants are responsible for taking their own prescribed medications and keeping them in a locked box. The box
                                 and key are provided by the Respite Centers. The kitchen will be stocked for participants who are using the respite beds and they
                                 are free to prepare food for themselves at their convenience. Participants are also free to bring in their own food.

                                 There are no doctors, nurses, case-managers, or clinical staff associated with the Respite Centers, although each participant is free
                                 to utilize his or her established medical and community resources. Participants have a file consisting of their Proactive Interview,
                                 Contact information, and Participation Guidelines. Guests have access to their file upon request.

                                 The Peer Support, Wellness, and Respite Centers welcome self-referrals. No independent confirmation of mental health challenges
                                 or diagnosis is required.

                                 All peer staff are Certified Peer Specialists. In addition, all peer staff have completed Intentional Peer Support Training with Shery
                                 Mead and Chris Hansen, Warmline Training with Sheila Silverman, CPR/First Aid Certification Training and general orientation with
                                 the Georgia Mental Health Consumer Network. Probably the best training, however, is the lived experience we all share as mental
                                 health peers!

                                 Proactive Interviews
                                 A Proactive Interview is an interactive dialogue between a Respite Center peer staff and a peer participant. It is used to determine
                                 the type of respite supports preferred by the participant. It is completed while a participant is feeling well.

                                 A participant can come to a Respite Center while they are feeling well and have a Pro-active Interview with a peer staff. Once the
                                 interview is completed, they qualify for a respite bed if and when the need arises and a bed is available.

                                 Proactive Interviews are offered weekdays in White County by appointment only; in Bartow County between 9:00-11:00 am, and in
                                 Decatur, between 3:00-5:00 pm. All Respite Centers offer Proactive Interviews any time on the weekends during opening hours.




                                            bartow county peer support, wellness, and respite Center

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                                            201 North Erwin Street                                                                                               Phone 770-276-2019
                                            Cartersville, GA 30120                                                                                   Email wellnesscenter@gmhcn.org


                                 Directions I-75 to exit 288 Main Street make a left off the exit. Cross over Hwy 41 and
                                 make a right hand turn onto Erwin Street, after train tracks. We will be about 4 blocks
                                 down on the right hand side at the corner of Carter and North Erwin.




                                  Bartow County Peer Support, Wellness, and Respite Center Scheduled Weekly Activities                                              Jennifer Barnett
                                                                                                                                                                             Director
                                                                                                                                                           Email jennifer@gmhcn.org
                                    Monday
                                    10:00-10:30 Wellness Walk                                   Thursday
                                    11:00-11:30 Aroma Therapy                                   10:00-10:30    Wellness Walk
                                    Noon-1pm Financial Planning                                 11:00-Noon     Emotional Wellbeing Support
                                    1:30-2:30 Art Exploration                                   12:30-2:00     Whole Health
                                    4:00-5:00 Self-Care                                         2:30-3:30      Computer Skills
                                    8:00-9:00 Respite Support                                   4:00-5:00      Double Trouble in Recovery
                                                                                                8:00-9:00      Respite Support
                                    Tuesday
                                    10:00-10:30 Wellness Walk                                   Friday
                                    11:00-Noon Women's Support                                  10:00-10:30   Wellness Walk
                                    12:30-1:30 Job Readiness                                    11:00-12:00   Peer Zone
                                    2:00-3:30 Housing Support                                   12:00-1:00    Y'all Recovery All Recovery
                                    4:00-5:00 Trauma Informed Peer Support (TIPS)               1:00-2:00     Musical Expressions
                                    8:00-9:00 Respite Support                                   2:30-3:30     Creative Writing
                                                                                                8:00-9:00     Respite Support
                                    Wednesday
                                    10:30-11:30   Wellness Walk                                 Saturday       Events on The Square (All Day)
                                    Noon-1:30     Peer Zone                                     10:30-1:00     Community Activity (times may vary)
                                    2:00-3:30     Wellness Recovery Action Plan (WRAP)          1:00-2:30      Fun & Games
                                    4:00-5:00     Boosting Self Esteem                          8:00-9:00      Respite Support
                                    8:00-9:00     Respite Support
                                                                                                Sunday
                                                                                                11:00-1:00    Movie at the Center
                                                                                                2:00-3:00     Fun & Games
                                                                                                3:30-5:00     Issues in Mental Health
                                                                                                8:00-9:00     Respite Support




                                            colquitt county peer support, wellness, and respite Center
                                            417 2nd Street SE                                                                                                    Phone 229-873-9737
                                            Moultrie, GA 31768                                                                                       Email wellnesscenter@gmhcn.org




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                                                                                                                                                               Kelly Blanton
                                                                                                                                                                     Director
                                 Colquitt County Peer Support, Wellness, and Respite Center Scheduled Weekly Activities                               Email kelly@gmhcn.org
                                     Monday                                                     Thursday
                                     2:00-3:00 Peer Community                                   2:00-3:00 WRAP
                                     3:30-4:30 Computer Skills                                  3:30-4:30 Whole Health/Wellbeing Support
                                     5:00-6:00 Issues in Mental Health                          5:00-6:00 Creative Expressions
                                     8:00-9:00 Respite Support                                  8:00-9:00 Respite Support

                                     Tuesday                                                          Friday
                                     2:00-3:00 DTR                                                    2:00-3:00 Y'all Recovery All Recovery
                                     3:30-4:30 Housing Support / Financial Planning                   3:30-4:30 Music
                                     5:00-6:00 Trauma-Informed Peer Support                           5:00-6:00 Nourishing the Spirit
                                     8:00-9:00 Respite Support                                        8:00-9:00 Respite Support

                                     Wednesday                                                        Saturday
                                     2:00-3:00 Exploring Relationships                                10:00–6:00 Movies and Games
                                     3:30-4:30 Creating a Meaningful Life                             2:00-3:00 Double Trouble in Recovery
                                     5:00-6:00 Art Explorations                                       8:00-9:00 Respite Support
                                     8:00-9:00 Respite Support
                                                                                                      Sunday
                                                                                                      1:00–6:00 Super Sports Sundays
                                                                                                      8:00-9:00 Respite Support




                                            Decatur peer support and wellness Center
                                            444 Sycamore Drive                                                                                            Phone 404-371-1414
                                            Decatur, GA 30030                                                                                 Email wellnesscenter@gmhcn.org


                                 Directions The Center is located two and a half blocks north of the
                                 Avondale Marta station on Sycamore Drive. After crossing E. Ponce de
                                 Leon, look for the 444 mailbox on the left. The house sits down a long
                                 driveway directly across from Springdale St.




https://www.gmhcn.org/peer-support-wellness-respite                                                                                                                             3/7
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                                                                                                                                             Deborah Bacote-Taylor
                                                                                                                                                           Director
                                                                                                                                     Email deborahtaylor@gmhcn.org


                                  Decatur Peer Support and Wellness Center Scheduled Weekly Activities
                                     Monday                                                   Thursday
                                     11:00-12:30 YMCA (1st & 5th Monday)                      11:30-12:30 WRAP
                                     11:00-12:30 Whole Health (2nd, 3rd, & 4th)               1:00 – 2:00 Peer Zone
                                     1:30-3:00 Issues in Mental Health                        3:00 – 4:00 Creative Expressions
                                     8:00-9:00 Respite Support                                8:00-9:00 Respite Support

                                     Tuesday                                                      Friday
                                     11:00-12:00   Peer Zone                                      11:00-12:30 YMCA
                                     12:30-1:30    Trauma-Informed Peer Support                   1:30-2:30 Hearing Voices Network
                                     2:30-3:30     Y'all Recovery All Recovery                    3:30-5:00 Art Explorations
                                     4:00–5:00     Computers/Financial Planning/Housing Support   8:00-9:00 Respite Support
                                     8:00-9:00     Respite Support
                                                                                                  Saturday
                                     Wednesday                                                    Noon-2:00 Bingo
                                     11:00-11:30 Peer Community @The Comet                        10:00–6:00 Movies and Games!
                                     11:30-12:30 Bowling @The Comet (First 10 bowlers are free,   10:00–6:00 Resources Support
                                     additional bowlers $5.00)                                    8:00-9:00 Respite Support
                                     1:30-3:00 Musical Expressions
                                     5:00-6:00 Double Trouble in Recovery                         Sunday
                                     8:00-9:00 Respite Support                                    10:00am - 6:00 CPS Study Group
                                                                                                  1:00 – 6:00 Super Sports Sundays
                                                                                                  8:00-9:00 Respite Support




                                           Henry county peer support, wellness, and respite Center
                                           67 Keys Ferry St                                                                                      Phone 678-782-7666
                                           McDonough, GA 30253                                                                       Email wellnesscenter@gmhcn.org




                                                                                                                                                    Ginger Blessing
                                                                                                                                                            Director
                                                                                                                                            Email ginger@gmhcn.org
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                                 Henry County Peer Support, Wellness, and Respite Center Scheduled Weekly Activities
                                    Monday                                                    Thursday
                                    10:00-Noon Bowling at Fun Bowl                            11:00-Noon Wellness Recovery Action Plan
                                    12:30-1:30 Aroma Therapy                                  12:30-2:30 Creative Expressions
                                    2:00-3:00 Issues in Mental Health/Peer Zone               2:00-3:00 Whole Health
                                    8:00-9:00 Respite Support                                 4:00-5:00 Double Trouble in Recovery
                                                                                              8:00-9:00 Respite Support
                                    Tuesday
                                    11:00-Noon Trauma Informed Peer Support/Peer Zone         Friday
                                    12:30-1:30 Housing Support/Financial Planning             10:00-12:00 Art/Music Exploration
                                    2:00-3:00 Y'All Recovery All Recovery                     12:30-1:30 Whole Health Cooking
                                    8:00-9:00 Respite Support                                 2:00-3:00   Let's Laugh - It Feels Good
                                                                                              8:00-9:00   Respite Support
                                    Wednesday
                                    10:00-1:00 Community Outing                               Saturday
                                    1:00-1:30 Peer Community                                  10:00-6:00 Movies and Games
                                    2:00-3:00 Hearing Voices Network                          8:00-9:00 Respite Support
                                    8:00-9:00 Respite Support
                                                                                              Sunday
                                                                                              1:00-6:00 Super Sports Sunday
                                                                                              8:00-9:00 Respite Support




                                            white county peer support, wellness and respite Center
                                            46 Knaus Drive                                                                                                 Phone 706-865-3601
                                            Cleveland, Ga 30528                                                                                Email wellnesscenter@gmhcn.org




                                 Directions The Peer Support, Wellness and Respite Center of White
                                 County is located north of Cleveland on Highway 129, approximately
                                 one mile past the high school. We are on the right and just before Kamper
                                 Korner (RV lot). The Center is the white house on the hill.




                                 White County Peer Support, Wellness, and Respite Center Scheduled Weekly Activities
                                    Monday                                                    Thursday                                                           Mitch Easley
                                    11-Noon Nourishing the Spirit                             11:00-Noon TIPS                                                         Director
                                    12:30-1:30 DTR                                            12:30-2:30 Basic Computer Skills/Job Readiness           Email mitch@gmhcn.org
                                    2:00-3:00 Creating a Meaningful Life/Independent Living   2:00-4:00 Out and About

https://www.gmhcn.org/peer-support-wellness-respite                                                                                                                              5/7
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                                     7:00-8:00 Respite Support                                           7:00-8:00    Respite Support

                                     Tuesday                                                             Friday
                                     11:00-Noon Art                                                      11:00-Noon WRAP
                                     12:30-4:30 Bowling (two free games for first 10 participants)       12:30-2:30 Y'All Recovery All Recovery
                                     7:00-8:00 Respite Support                                           3:30-4:30 Decompression Session
                                                                                                         7:00-8:00 Respite Support
                                     Wednesday
                                     11:00-Noon WHAM
                                     12:30-1:30 Whole Health
                                     2:00-4:00 Recreational Center
                                     7:00-8:00 Respite Support




                                 Peer Support Activity Descriptions
                                 Peer support activities vary by location. These descriptions are meant to provide a general idea of what might be
                                 expected at any of the Peer Support, Wellness, and Respite Centers. For specific information about scheduled
                                 activities, please contact the PSWRC using the contact information above.

                                 Aroma & Relaxation (Bartow) – Let go of your fears, worries, and stresses as we enter a state of complete relaxation. We will use aroma, music, imagery,
                                 meditation, and other easy-to do techniques to come to an inner peace.

                                 Art Explorations – Use a variety of art media for self expression and exploration.

                                 Bingo (Decatur) – Join us on Saturdays at 12:00 PM for BINGO with prizes!

                                 Bowling (Decatur) – Meet at The Comet (formerly Suburban Lanes) every Wednesday at 11:00 to bowl competitively with peers and have loads of fun! (First
                                 10 bowlers are free, additional bowlers $5.00); Address 2679 N. Decatur Rd. 30033; 470-225-1931

                                 Computer Skills/Financial Planning/Housing Support - Learn basic computer skills to access housing and financial resources online. Create a budget. Learn
                                 the ins and outs of SSI/SSDI. During this hour, computers will only be available for those participating in the activity.

                                 CPS Study Group – Make arrangements with study partners to meet at the PSWC on Sundays to prepare for the Certified Peer Specialist exam.

                                 Creative Cafe – Share your original poetry, spoken word, prose, short stories, etc. Get creative and enjoy coffee and hot chocolate!

                                 Double Trouble in Recovery – A twelve-step program designed to meet the needs of individuals who are dealing with both substance abuse and a mental
                                 health diagnosis

                                 Free Events on the Square (Bartow) – Each spring, summer, and fall, Cartersville presents Events on the Square consisting of concerts, farmers market,
                                 festivals, etc. Peers can walk to the downtown square all day on Saturdays.

                                 Hearing Voices Network – Are you a person who hears voices? Do you want to talk openly about it without labels, judgments, or coercion? This is a safe place
                                 to talk freely and openly about your experiences.




https://www.gmhcn.org/peer-support-wellness-respite                                                                                                                                             6/7
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                                 Issues in Mental Health – Let’s talk about the real issues in mental health -- in the news, with drug companies, legislation… Let’s explore what does and does
                                 not support us in recovery

                                 Lyrical Expressions – Exploring the soundtracks of our lives!

                                 LGBT Support – Free to all who self-identify as having a mental health challenge and identify as LGBT

                                 Movies and Games – Saturdays are for hanging out with peers and having some good old-fashioned fun with board games, cards, and movies. We provide
                                 games to choose from, but feel free to bring your own as well.

                                 Peer Community (Decatur) – Join us on Wednesdays at The Comet before bowling for news and announcements. This is also a good time to bring up issues
                                 that affect the PSWC community at large. Address 2679 N. Decatur Rd. 30033; 470-225-193126619

                                 Peer Zone – A set of interactive workshops created by Mary O’Hagan and Sarah McCook. The activities are engaging and relevant to peers on the recovery
                                 path.

                                 Respite Support – An activity every evening at 8:00 pm with respite guests for extra support if you choose

                                 Resources Support – Resources galore. Find what you need in the community, on the internet, or through networking with other peers who have been where
                                 you’re at and know what’s available. Food, clothes, housing, support groups, lots of giveaways in Atlanta!

                                 Sacred Space – this is a forum to talk about spirituality and what makes you passionate! You can freely share your personal feelings and beliefs about
                                 spirituality and what it means to you. No preaching, just sharing.

                                 Super Sports Sundays – Come cheer your team on in front of the TV and have a blast!

                                 Trauma-Informed Peer Support – Have you experienced a life-altering event in your life? This is the place where these issues can be explored with your peers
                                 while developing skills to begin to move forward.

                                 Voices and Visions – A time to share and explore the place and possible meanings that hearing voices and seeing visions play in our lives. Various tips and
                                 tools for working with them will be discussed as well.

                                 Whole Health – Exploring the physical, emotional, and spiritual aspect of our lives and how they intertwine.

                                 WRAP Planning – WRAP (Wellness Recovery Action Plan) assists with developing a wellness plan that keeps you in control when you experience a crisis.

                                 YMCA – The PSWC has free passes! Meet us at the PSWC at 11:00 am on Mondays (1st & 5th Monday) and Fridays for some fun and exercise at the Y.
                                 Meet us at the Decatur YMCA located at 1100 Clairemont Ave., Decatur, GA Phone: (404) 377-9622



                                                                                                                                                                           CONTACT FORM
                                                                                                                              YOUR NAME *



                                                                                                                              YOUR EMAIL *


                                 info@gmhcn.org                             Georgia Mental Health Consumer Network
                                                                                                                              HOW MAY WE BE OF SERVICE?
                                 Tel 404-687-9487                           246 Sycamore Street, Suite 260
                                 Toll Free 800-297-6146                     Decatur, Georgia 30030
                                 Peer2Peer Warm Line 888-945-1414
                                 Fax 404-687-0772


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https://www.gmhcn.org/peer-support-wellness-respite                                                                                                                                               7/7
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P.O. Box 77208, Atlanta, GA 30357                     1500 K Street NW, Suite 900, Washington, DC 20005
770.303.8111|syoung@acluga.org                        202.662.8389/jpowers@lawyerscommittee.org



September 25, 2019

Members of the DeKalb County                     Erica Hamilton, Director
Board of Registration and Elections              DeKalb County
1300 Commerce Drive                              Board of Registration and Elections
Decatur, GA 30030                                1300 Commerce Drive
voterreg@dekalbcountyga.gov                      Decatur, GA 30030
                                                 ehamilton@dekalbcountyga.gov

Via Certified Mail and E-mail

        Re: Voter Purge of Residents at the Peer Support, Wellness, and Respite Center,
        and Open Records Request

To the DeKalb Board of Registration and Elections,

        The ACLU of Georgia and Lawyers’ Committee for Civil Rights Under Law write on
behalf of the New Georgia Project and the Georgia Coalition for the Peoples’ Agenda, to follow
up our August 20, 2019 letter concerning the illegal removal of registered voters approved
during your August 1, 2019 meeting based on unfounded allegations about their residency.

        We have since learned that, contrary to what the Board Minutes reflect, the City of
Decatur never filed any challenge at all. Instead, the challenge was actually initiated by an
employee of the DeKalb Board of Registration and Elections who had a personal interest in the
property at issue. It also appears as if you invited the City of Decatur to file challenges. (See
Exhibit A.) Even putting aside these procedural problems, the purge was illegal for the reasons
set forth in our August 20, 2019 letter.

       To put this matter behind us and ensure that the DeKalb County Board of Registration
and Elections complies with federal and state law concerning the proper handling of residency-
based voter qualifications challenges in the future, we propose that you adopt the policies and
procedures appended immediately after this letter. We are happy to answer any questions you
may have and look forward to resolving this matter both amicably and expeditiously.

Sincerely,
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Sean J. Young                                   John Powers
Legal Director                                  Counsel
ACLU of Georgia                                 Lawyers’ Committee for Civil Rights
Atlanta, GA 30309                               Under Law
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                                                Email: jpowers@lawyerscommittee.org

CC by e-mail and certified mail:

Mayor Patti Garrett
patti.garrett@decaturga.com

Mayor Pro Tem Tony Powers
tony.powers@decaturga.com

Decatur City Commissioners Brian Smith, Kelly Walsh, and Scott Drake
brian.smith@decaturga.com
kelly.walsh@decaturga.com
scott.drake@decaturga.com

Decatur City Hall
509 North McDonough St.
Decatur, GA 30030




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               Exhibit B
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                     MINUTES OF THE MEETING OF THE BOARD
                        OF REGISTRATION AND ELECTIONS
                                DEKALB COUNTY
                                  August 1, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
August 1st, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:              Anthony Lewis, Board Member
                      Susan Motter, Board Member
                      Dele Lowman Smith, Board Member
                      Baoky Vu, Board Member
                      Bennett Bryan, Attorney
                      Erica Hamilton, Director
                      Tiffani Gilbert, Elections Supervisor
                      Twyla Hart, Registration Supervisor
                      Sharon Hillman, Administrative Coordinator (Trainee)
                      Mary Frances Weeks, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:30 PM and asked for an Executive
Session to be added to the agenda as 5B to discuss a legal matter. A motion was made by Ms.
Smith to approve the agenda. Mr. Vu seconded the motion. Mr. Tillman stated the motion was
made and seconded. The question was called and the motion was approved.

Minutes
Ms. Smith recommended that the “Comments from the Public” from the July 11th meeting be
reworded. A motion was made by Mr. Lewis to approve the minutes. Ms. Smith seconded the
motion. The question was called and the motion was approved.

Comments from the Public
Five citizens signed in and spoke. Four citizens expressed their concerns with poll watcher
selection, absentee ballots, and election fairness. One citizen expressed his appreciation of the
Director and the office.

Challenges -- Director Erica Hamilton presented the following challenges with staff
recommendation for removal.
       A) Anthony Lombardo -- The Board was provided with a request from Joseph Firpo, who
          resides as the registered address, stating Mr. Lombardo only lived at the residence for
          6 months and has not lived at the address since 2015. A letter addressed to Mr.
          Lombardo was returned undeliverable. A motion was made by Mr. Vu to remove
          Anthony Lombardo from the DeKalb County voter roll. Mr. Lewis seconded the
          motion. The question was called and the motion was approved.
       B) Tiffany Harris; Eric Warren Robbins, Leon Harris -- Precinct cards were mailed back
          to the Board from the individual who currently lives as the registered address with a
          note stating Ms. Harris, Mr. Robbins, and Mr. Harris no longer lived at the address. A
          letter addressed to each individual was returned undeliverable. A motion was made by
          Ms. Smith to remove Tiffany Harris, Eric Warren Robbins, and Leon Harris from the
          DeKalb County voter roll. Mr. Lewis seconded the motion. The question was called
          and the motion was approved.
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       C) City of Decatur -- Per Election Law, a list of registered voters was sent to the city. The
          City of Decatur challenged those registered at 444 Sycamore Drive, Decatur, GA
          30030. The address is a business where clients can only stay for three days, and citizens
          cannot register at a business. A motion was made by Mr. Lewis to remove those
          registered at 444 Sycamore Drive from the DeKalb County voter roll. Ms. Smith
          seconded the motion. The question was called and the motion was approved. Ms. Smith
          questioned how an individual was registered at a business address. Ms. Hamilton stated
          that her understanding was that at one point, it was a residence.

Presentation
Mr. Tillman requested to add to the agenda a special presentation. M. Vu presented Mrs. Weeks
with a gift recognizing her 20 years of service to the Board and DeKalb County.

Unfinished Business
   A) Audit Update -- Ms. Hamilton reported that some members of the board met with audit
       officials on July 31st. The Board is waiting on official word and notifications from the
       auditors on how the audit will proceed.

New Business
  A) Precinct Change -- Emory Road – Ms. Hamilton reported that the current Emory Road
     Precinct is no longer able to accommodate the election. According to Georgia code, a
     meeting is required after posting a notice in a legal organ two weeks prior, which has been
     completed. The Board has notified the State Election Board, as it is required since the
     proposed relocation is outside the precinct. The proposed temporary move is to Druid Hills
     High School, an existing precinct. A motion was made by Ms. Smith to approve the
     precinct change. Mr. Vu seconded the motion. Mr. Tillman stated the motion was made
     and seconded. The question was called and precinct change was approved.
  B) Executive Session -- Mr. Tillman asked for a motion for the Board to go into Executive
     Session. A motion was made by Mr. Lewis, and Ms. Smith seconded the motion. The
     question was called and the motion was approved. The Board excused themselves to
     another area to meet with counsel, after which, a motion was made by Mr. Vu, and
     seconded by Mr. Lewis to return to regular session. The question was called and the motion
     was approved. A motion was made by Ms. Smith to enter into a consent order for State
     Election Board case 2015-100. Mr. Lewis seconded the motion. The question was called
     and the motion was approved. “No decisions were made, and no votes were taken while
     we were in Executive Session.” A signed affidavit confirming this will be placed with the
     minutes.

Comments from the Board – Ms. Smith stated that is was a pleasure working with Mrs. Weeks and
wish her joy and peace in her retirement. Ms. Smith thanks Mrs. Weeks for an easy onboarding
process. Speaking for the staff, Ms. Hamilton wish Mrs. Weeks the very best in her retirement.

There being no further business, the meeting was adjourned.



                                             Sharon Hillman, Administrative Coordinator.
                                             Registration and Elections
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              MINUTES OF THE EXECUTIVE SESSION OF THE BOARD
                     OF REGISTRATION AND ELECTIONS
                             DEKALB COUNTY
                               August 1, 2019

                                     CONFIDENTIAL


Chair Samuel Tillman announced that the Board would adjourn into Executive Session to discuss
a personnel matter.

An “Open Meeting Affidavit” document was signed and notarized and will be included with the
minutes.

There being no further business, the Executive Session was adjourned and the Board returned to
open session.



                                                  ____________________________________
                                                  Sharon Hillman
                                                  Administrative Coordinator
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                      MINUTES OF THE MEETING OF THE BOARD
                         OF REGISTRATION AND ELECTIONS
                                 DEKALB COUNTY
                                 September 12, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
September 12th, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:               Anthony Lewis, Board Member
                       Susan Motter, Board Member
                       Dele Lowman Smith, Board Member
                       Baoky Vu, Board Member
                       Erica Hamilton, Director
                       Tiffani Gilbert, Elections Supervisor
                       Twyla Hart, Registration Supervisor
                       Sharon Hillman, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:38 PM and asked for approval of the
agenda. There were no changes or additions and the agenda was adopted.

Minutes
Ms. Smith brought to attention that the minutes did not reflect the correct reason for the Executive
Session. A motion was made by Mr. Lewis to approve the minutes with the correction made. Mr.
Vu seconded the motion. The question was called and the motion was approved unanimously.

Comments from the Public
Nine citizens signed in and spoke. Citizens spoke of their concerns on the transparency of the
Board, the new election machines, and the need for different accommodations for the meetings.
One citizen expressed his appreciation of Director Hamilton.

Challenges -- Director Erica Hamilton provided the Georgia Code section for challenging voters
and presented the following challenges.
       A) Julia Whitney Harrell and William Doyle Harrell III – Information was received from
           an elector that Ms. Harrell and Mr. Harrell did not live at their registered address. Ms.
           Motter brought additional information showing that the individuals did not resides at
           the address in question. Staff recommended that the voters be placed into cancelled
           status. Mr. Vu made a motion to follow the staff recommendation and change the status
           to cancelled. Mr. Lewis seconded the motion. The question was called and the motion
           was unanimously passed.
       B) Tray C. Cost – Ms. Hamilton stated that Mr. Cost registered several years prior to 2019.
           He was placed in pending status because he did not verify. However, with the passage
           and changes outline in House Bill 316, this individual was placed back into active
           status. Ms. Hamilton stated that there were two options: change the individuals status
           or place the individual in cancelled status. Mr. Vu motioned for the voter’s status to be
           updated to cancelled. Mr. Vu’s motion died from lack of second. Ms. Motter motioned
           for Mr. Cost to be moved to inactive status. Ms. Smith asked Ms. Hamilton about the
           process of being an inactive voter. Ms. Hamilton explained the process and
           implications of changing the status to inactive. The question was called, and the motion
           was not passed. Mr. Vu made a motion to place the voter in cancelled status. Mr. Lewis
           second the motion. The question was called and the motion was passed by a majority
           of three with Mr. Tillman’s yea vote. Ms. Smith and Ms. Motter voted nay.
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       C) Challenge List Provided by Lawrence Hoskins – Ms. Hamilton reported that during
          canvassing, an elector found the voters on the list did not reside at their registered
          address. Ms. Hamilton discussed the possible options with the Board. An individual
          on the list was present for the meeting. She stated that she no longer resides as the
          address but still in DeKalb County. Ms. Motter proposed that the list be broken into
          categories. After discussion, Mr. Tillman made an executive decision to have the list
          altered and to revisit the list during the October meeting.
       D) Jacinda “Cindy” Thomas – A challenge against Ms. Thomas’s eligibility to hold the
          Office of Mayor of Lithonia was made in regards to the residency requirements. Mr.
          Tillman swore in all those who were present for Ms. Thomas’s challenge who planned
          to present information. Ms. Thomas and her attorney provided information regarding
          her residency in Lithonia. Several individuals spoke about the residency of Ms.
          Thomas. Ms. Smith motioned for Ms. Thomas to be retained as a candidate. Mr. Vu
          second the motion. The question was called and the motion was unanimously approved.

Unfinished Business
Ms. Hamilton stated that there was no unfinished business from the staff. Ms. Smith motioned that
the board revisit the issue regarding the voters registered at 444 Sycamore Drive. Mr. Vu seconded
the motion. The question was called and the motion was approved unanimously. Ms. Smith
motioned to reconsider the action taken by the Board during the August meeting regarding the
voters at 444 Sycamore Drive. Mr. Vu seconded the motion. The question as called and the motion
as unanimously passed. Ms. Hamilton gave an update on the voters and explained why the original
challenge had been brought to the board. There was discussion and no further action was taken by
the Board.

New Business
  A) Absentee In Person Application Approval - Ms. Hamilton stated that after considering
     citizens’ concerns over the Advance In Person Voting Application, the office created its
     own application that is compliant with the law. The application has been reviewed by legal
     council. A motion was called by Mr. Lewis to adopt the application. Mr. Vu seconded the
     motion. The question was called, and the motion was approved unanimously.
  B) Advance Voting Locations and Times – Ms. Hamilton presented the staff recommendation
     for Advance Voting Locations and Times. Any additional satellite location is the
     responsibility of the cities. All locations are open to any voter during the recommended
     dates and times. She also made public that on October 17, all DeKalb County Libraries
     would be closed but open for voting. Mr. Tillman stated that there is a county wide initiative
     on the ballot this year. Mr. Vu motioned for the Advance Voting Locations and Times to
     be adopted. Mr. Lewis seconded the motion. The question was called, and the motion was
     approved unanimously.
  C) National Voter Registration Day – Ms. Hamilton stated that in honor of National Voter
     Registration Day, the office would be holding a county-wide training on September 24,
     2019       at    the     Lou      Walker      Center.      A     letter   was     sent      to
     Civic Leaders, County Commissioners, Pastors, and schools. The training will provide
     important information on the 2019/2020 Election Cycles, registering voters, and becoming
     a poll worker. Mr. Tillman also stated that when the county receives the new voting
     machine, staff will be holding trainings throughout the county and advised all to contact
     the staff if any group is interested in holding a training on the new machines.
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Comments from the Board – Ms. Motter thanked the public for turning out for the Board meeting.
Mr. Tillman thanked everyone for coming out and mentioned that there will be discussion on a
different location.

There being no further business, the meeting was adjourned.



                                           Sharon Hillman, Administrative Coordinator.
                                           Registration and Elections
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                      MINUTES OF THE MEETING OF THE BOARD
                         OF REGISTRATION AND ELECTIONS
                                 DEKALB COUNTY
                                  October 10, 2019

The DeKalb Board of Registration and Elections convened to conduct its monthly meeting on
October 10th, in the Absentee Area at 4380 Memorial Drive with Board Chair Samuel Tillman
presiding.

Present:               Anthony Lewis, Board Member
                       Susan Motter, Board Member
                       Dele Lowman Smith, Board Member
                       Baoky Vu, Board Member
                       Erica Hamilton, Director
                       Tiffani Gilbert, Elections Supervisor
                       Twyla Hart, Registration Supervisor
                       Sharon Hillman, Administrative Coordinator

Mr. Tillman called the meeting to order at approximately 4:33 PM and asked for approval of the
agenda. There were no changes or additions and the agenda was adopted.

Minutes
A motion was made by Mr. Vu to approve the minutes. Ms. Smith seconded the motion. The
question was called and the motion was approved unanimously.

Comments from the Public
Six citizens signed in and addressed the Board. Citizens voiced their concerns on placing voters in
cancelled status and of their concerns on keeping voter rolls up-to-date. One citizen provided
information regarding an agenda item.

Challenges -- Director Erica Hamilton provided the Georgia Code section for challenging voters
and presented the following challenges.
       A) John Coleman –The Board was provided information from Jamie Schickler and
           Winston Persaud that John Coleman did not reside at the registered address. A letter
           was mailed to Mr. Coleman asking to verify his address. With no return
           correspondence, the staff recommended to place the voter into cancelled status. Mr.
           Vu made a motion to follow the staff recommendation and change the status to
           cancelled. Mr. Lewis seconded the motion. The question was called and the motion
           was passed with a 3-2 vote. Ms. Smith and Ms. Motter voted nay.
       B) Simba McWonder – The Board was provided information from Thomas Bowen who
           resides at the registered address that Simba McWonder does not reside at the address.
           A letter was mailed to Simba McWonder. No return correspondence was received. The
           staff recommended to place the voter into cancelled status. Mr. Lewis made a motion
           to follow the staff recommendation and change the status to cancelled. Mr. Vu
           seconded the motion. The question was called and the motion was passed with a 3-2
           vote. Ms. Smith and Ms. Motter voted nay.
       C) Jesse Posey – The Board was provided information from Sheryl Shanholtzer who
           resides at the registered address that Jesse Posey does not reside at the address. A letter
           was mailed to Jesse Posey, and no correspondence was returned to the office. The staff
           recommendation was to place the voter in cancelled status. Mr. Vu made a motion to
           change Jesse Posey’s registration status to cancelled. Mr. Lewis seconded the motion.
           There was a discussion regarding the site where Mr. Posey registered. Mr. Vu motioned
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           to table any vote or discussion while Registration Supervisor Twyla Hart gathered
           additional information. Ms. Smith seconded the motion. The question was called and
           the motion was approved unanimously.

           After discussion of unfinished business and with new supporting evidence, Ms. Smith
          motioned to remove Jesse Posey from the table. The motion was second by Mr. Vu.
          Ms. Hamilton brought additional information on Mr. Posey’s registration history. Mr.
          Vu made a motion to place Mr. Posey into cancelled status. Mr. Lewis second the
          motion. The question was called and the motion was unanimously passed.
       D) Michael White – The Board was provided information from Michael White who resides
          at the registered address that the particular Michael White in question does not reside
          at the registered address. A letter was mailed to Mr. White. No return correspondence
          was received. The staff recommended to place the voter into cancelled status. Ms.
          Smith questioned status regarding the voter registration process. Mr. Vu made a motion
          to follow the staff recommendation and change the status to cancelled. Mr. Lewis
          seconded the motion. The question was called and the motion was passed with a 3-2
          vote. Ms. Smith and Ms. Motter voted nay
       E) DeShawn Tracy Willborn – The Board was provided information from the resident of
          the registered address that Mr. Willborn did not reside at the address but that he actually
          resides across the hall. A letter was mailed to Mr. Willborn, and the office did not
          receive correspondence back. There was a discussion on contacting Mr. Willborn by
          different means. Mr. Vu motioned to table to the vote until further research was
          completed. Mr. Lewis seconded the motion. The question was called and the motion
          was passed unanimously.

Unfinished Business
       A) Challenge List Provided By Lawrence H. Hoskins – Members of the Board discussed
          the new format requested at the September meeting for the challenges brought by Mr.
          Lawrence Hoskins. Chairman Tillman stated that because the Registration Deadline for
          the November 5, 2019 deadline had passed, he was hesitant to place any voters from
          this group into the cancelled status. Ms. Smith motioned to table the discussion until
          the November Board Meeting. The motion was seconded by Ms. Motter. The question
          was called and the motion was passed unanimously.

New Business
  A) November Board Meeting Date - Ms. Hamilton stated that due to HB 316, the certification
     deadline has been extended, and she recommended the November Board Meeting be
     moved to November 15th. Mr. Vu made a motion to change the date to November 15th. Ms.
     Smith seconded the motion. The question was called and the motion passed unanimously.
  B) Approve the November 5, 2019 General Municipal/Special Election Poll Officials – The
     Board was provided a list of Election Officials with demographical information, in
     accordance to O.C.G.A § 21-2-90. Ms. Hamilton stated the training would complete next
     week. A motion was made to approve the list of Poll Officials and was seconded. The
     question was called and the motion was unanimously passed.
  C) Emory Road Precinct Change – Ms. Hamilton stated that the staff was not able to find an
     adequate permanent replacement for the Emory Road Precinct. It is the recommendation
     of the staff that the precinct be split between the Fernbank Elementary Precinct and the
     Druid Hills Precinct. Per Georgia Law, the precinct changes would be brought to the Board
     of Commissioners for a vote if the Board of Voter Registration and Elections approved
     them. Mr. Vu made a motion to approve that the changes recommended by the staff be
     brought to the Board of Commissioners. Ms. Smith second the motion. After discussion on
     engaging the community on the changes, the question was called and the motion was
     approved unanimously.
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Comments from the Board – Mr. Lewis spoke on the importance of considering both sides of
challenges when brought to the Board.

Comments from the Staff – Ms. Hamilton informed the Board that final preparations were being
made for the start of Early and Election Day voting as well as that some staff training had begun
on the new equipment.

There being no further business, the meeting was adjourned.



                                            Sharon Hillman, Administrative Coordinator.
                                            Registration and Elections
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August 20, 2019


RE:    Removal of Registered Voters from 444 Sycamore Drive, Decatur, GA


In May 2019, the City Clerk for the City of Decatur was asked to verify registered voters and the
list of municipal streets by the DeKalb County Voter Registration and Elections (DCVRE)
Office. City staff reviewed the files provided by the County to ensure that the list of municipal
streets was correct and returned the files on June 26, 2019 to Deborah Christian, DeKalb County
Election Coordinator. The City Clerk submitted the list of registered voters without a challenge.

The City Clerk notified DCVRE that 444 Sycamore Drive, which was included on the DCVRE
municipal streets file, does not appear in the City’s property database nor does it appear in the
County’s property database.

The City Clerk was contacted by Election Coordinator Glenda Woods by telephone regarding the
notice of 444 Sycamore Drive as a non-address. In her research Ms. Woods determined that 444
Sycamore Drive was owned by one of her colleagues, Administrative Coordinator Mary Frances
Weeks, and that the legal address of the property was 207 Springdale Avenue. Ms. Woods
informed the City that DCVRE would take care of notifying the voters with a 444 Sycamore
Drive address about the address discrepancy.

The City of Decatur did not request a challenge to the voter list or the municipal streets list.
Rather, the City notified DCVRE of the discrepancy in the addressing as was the charge in the
Municipal Street Maintenance List Checklist form provided by the County. The County initiated
the challenge of the voters at the address in question.




Andrea Arnold
City Manager
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           EXHIBIT 11
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                              Law Department                                                          Chief Executive Officer
                                                                                                            Michael L. Thunnond

                              Viviane H. Ernstes                                                     Board of Commissioners
DeKalb County                 County Attorney                                                                           District I
                                                                                                                      Nancy Jester
     GEORGIA
                                                                                                                         District 2
                                              January 24, 2020                                                          Jeff Rader
                                                                                                                         District 3
                                                                                                                     Larry Johnson
Via U.S. Mail and E-mail
                                                                                                                         District4
                                                                                                                   Steve Bradshaw
John Powers                                         Sean J. Young
Counsel                                             Legal Director                                                      District 5
                                                                                                             Mcreda Davis Johnson
Lawyers' Committee for Civil Rights                 ACLU of Georgia
   Under Law                                                                                                             District 6
                                                    P.O. Box 77208                                                  Kathie Gannon
1500 K Street NW, Suite 900                         Atlanta, GA 30357
                                                                                                                       District 7
Washington, DC 20005                                syoung@acluga.org                                  Lorraine Cochran-Johnson
jpowers@lawyerscmrunittee.org

Sophia Lin Lakin
Staff Attorney
American Civil Liberties Union
125 Broad Street, 18th Floor
New York, NY 10004
slakin@aclu.org

        Re:     NVRA Notice Letter

Dear Counsel:

        As you know, our office has been working with you to resolve issues pertaining to your
October 28, 2019 request for records, to which the County responded on October 31, 2019. It is
my understanding that you have now transmitted payment for the requested records. As the
document issues have been resolved, I wanted to provide the County's response regarding the
substantive allegations in your October 28, 2019 correspondence. In short, we disagree with both
your general premise that Georgia's challenge procedures violate the National Voter Registration
Act and your specific contentions that the County Board of Registration and Elections removed
the identified individuals from the list of eligible voters in violation of applicable law or otherwise
discriminated against them. Should you wish, we will be glad to address these issues with you in
more detail following production of the requested documents.

                                                             Sincerely,


                                                             Ati-9~
                                                             Aaron J. Ross
                                                             Litigation Strategy Division Chief

         1300 Commerce Drive, s•h floor I Decatur, Georgia 30030 I Phone: 404-371-3011 1Fax: 404-371-3024
                                             www.dekalbcountyga.gov
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Response to NVRA Notice Letter
January 24, 2020
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cc:   Viviane H. Ernstes, County Attorney (by hand delivery)
      Terry G. Phillips, Deputy County Attorney (by hand delivery)
      Shelley D. Momo, Assistant County Attorney (by e-mail only)
      Irene B. Vander Els, Assistant County Attorney (by e-mail only)
